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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENT-
ATIVES,
              Plaintiff-Counterdefendant,
                                            No. 1:19-cv-1974-TNM
      v.
                                            ORAL HEARING SCHEDULED
UNITED STATES DEPARTMENT OF                 NOVEMBER 16, 2021
THE TREASURY; et al.,
            Defendants-Crossdefendants,

and

DONALD J. TRUMP; et al.,
            Intervenors-Counterclaimants-
                          Crossclaimants.

                   INTERVENORS’ COMBINED OPPOSITION
                       TO THE MOTIONS TO DISMISS
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                                        INTRODUCTION
       No one believes that Chairman Neal requested President Trump’s tax returns so he can

study legislation about IRS audits. No one. Chairman Neal admits that this justification was a mere

litigation strategy. His fellow Committee-Members don’t buy it either. And for two years, the

official position of the United States Government was that Chairman Neal’s rationale “‘blinks

reality.’” Am. Counterclaims & Cross-Claims (ACCC) (Doc. 129) ¶220. Anyone who’s paid even

minimal attention to American politics understands what’s happening here: President Trump did

not voluntarily disclose his tax returns during the campaign, his political opponents assume the

information would damage him, and so his opponents want to force the disclosure. ¶2.

       What everyone knows to be true is certainly plausible. In their pleading, Intervenors ex-

plain what everyone knows to be true, the relevant events leading up to it, and the mountain of

evidence that the Committee’s request has an improper purpose. The Committee and the Govern-

ment understand that these allegations are sufficient. In their motions to dismiss, they are left ar-

guing that the law somehow forbids this Court from even considering Intervenors’ evidence.

       Far from forbidding it, the law “clear[ly]” requires this Court to consider whether the Com-

mittee’s request for Intervenors’ tax information serves a “legitimate legislative purpose.” Trump

v. Comm. on Ways & Means (State Tax Returns), 415 F. Supp. 3d 38, 45-46 (D.D.C. 2019). And

determining whether the request has a legitimate legislative purpose requires this Court to, well,

determine the request’s purpose. The Supreme Court recently rejected the notion that courts should

“blind” themselves to “what all others can see and understand” about Congress’s informational

demands. Trump v. Mazars USA, LLP (Mazars III or Mazars), 140 S. Ct. 2019, 2034 (2020). And

it reminded courts that it’s their job to ensure these requests do not infringe the separation of pow-

ers or violate individual rights. See id. at 2035, 2032.




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       Intervenors have plausibly alleged that the Committee’s request is facially unconstitu-

tional, pursues invalid and non-legislative purposes, implicates the separation of powers, and vio-

lates their constitutional rights. If the Government or the Committee disagree with Intervenors’

view of the record or have evidence of their own to submit, they can do so at summary judgment—

where Mazars was decided. For now, what matters is that Intervenors have provided fair notice of

their plausible claims. This Court should deny the motions to dismiss.

                                         BACKGROUND
       President Trump’s tax returns have long been “Democrats’ white whale.” ACCC ¶61.

Elected Democrats, and the House especially, have been on a multi-year crusade to obtain and

release his information to the public. This history, which is fully documented in Intervenors’ plead-

ing, is briefly summarized below.

       2016 Election: Then-Candidate Trump declined to release his tax returns during the 2016

presidential campaign, citing ongoing IRS examinations. ¶¶6-7. This decision became one of the

biggest political issues of the campaign, dividing the country along partisan lines. ¶¶9-10. Presi-

dent Trump’s opponent summed up the general Democratic sentiment: “A lot of us were wonder-

ing, ‘What is he hiding? It must be really terrible.” ¶13. “Maybe he’s not as rich as he says he is….

[M]aybe he’s not as charitable as he says he is. [Maybe] we don’t know all of his business dealings

…. Or maybe he doesn’t want the American people ... to know that he’s paid nothing in federal

taxes.... It must be something really important, even terrible, that he’s trying to hide.” ¶14. Then-

Vice President Joe Biden similarly accused Trump of not paying his “fair share” of taxes and

playing the American people “for suckers.” ¶15.

       115th Congress: After Trump won the 2016 election, he became President and Republi-

cans commanded majorities in Congress. ¶20. Led by Minority Leader Nancy Pelosi and Ranking

Member of the House Ways and Means Committee Richard Neal, congressional Democrats


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continued to pursue the President’s tax information. ¶21. Because they were in the minority, they

knew their attempts would likely fail—and thus never need to be defended in court. So they spoke

more candidly about their purposes, admitting that their aim was to release President Trump’s tax

information to the public. The IRS’s presidential audit program never came up once. ¶22.

        For example, one resolution would require the Treasury Department to provide the Presi-

dent’s tax information to the House, which Ranking Member Neal and every other Committee

Democrat cosponsored. ¶25. Committee-Member Bill Pascrell (D-NJ), far from voicing an interest

in the IRS Presidential Audit Program, insisted that §6103 allows requests that are “not related to

tax administration” and vehemently denied that “tax administration is the sole purpose of the dis-

closure.” ¶26. The Committee rejected this resolution, correcting noting it was outside its jurisdic-

tion and would be an unprecedented request of “disclosure of confidential personal tax return in-

formation for purposes of embarrassing or attacking political figures of another party.” ¶28.

        Undeterred, Committee Democrats pledged to “remain steadfast in [their] pursuit to have

[President Trump’s] individual tax returns disclosed to the public.” ¶29. During their quest, House

Democrats made countless statements offering reasons for the request, with two constants: insist-

ence on public exposure for exposure’s sake, and total silence as to any legislative study of the

IRS Presidential Audit Program. ¶32. Minority Leader Pelosi, for example, speculated that the

President’s tax returns would help investigate “what … the Russians have on Donald Trump po-

litically, personally, and financially.” ¶36.

        Other House Democrats, most prominently on the Committee, followed Pelosi’s lead. In

September 2017, Ranking Member Neal said that the tax returns would “provide the clearest pic-

ture of a president’s financial health, including how much he earns, how much tax he pays, his

sources of income (e.g., capital gains, dividend income, and certain business income), the size of




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his deductions, whether he makes charitable contributions, and whether he uses tax shelters, loop-

holes, or other special-interest provisions to his advantage.” ¶41. Committee-Member Pascrell put

it bluntly: “We must see Trump’s tax returns to know just far and how deep the crimes go.” He

went on, “Americans have a right to know if their President is a crook.” ¶42. Pascrell even specu-

lated that the President’s tax returns would reveal that he “consorted [with] mafia figures.” ¶44.

Committee-Member Lloyd Doggett (D-TX) demanded disclosure because “Trump’s ongoing

threats to the Mueller investigation make the need ever more urgent to see what he may be hiding.”

He speculated that the President’s tax information would reveal a concealed “Russian connection”

and history of “tax dodging.” ¶¶49-50. Many other Democratic congressmen, especially members

of the Ways and Means Committee, repeatedly voiced similar reasons to expose the President’s

tax returns to the public. ¶¶53-73.

       116th Congress: House Democrats again made the President’s tax returns an issue in the

2018 mid-term elections. Minority Leader Pelosi promised voters that, if Democrats won a House

majority, then obtaining and releasing President Trump’s tax returns “is one of the first things we’d

do.” “[T]hat’s the easiest thing in the world. That’s nothing.” ¶75. Committee-Member Doggett

declared that “a New Congress” would be able to “review [President Trump’s] returns” to “know

whether or not the[] President is a crook.” ¶50. Doggett promised that, if Democrats took back the

House in 2018, the Committee would not “even need a subpoena” to “obtain his tax returns,” and

reiterated that the returns would show a “Russian connection” and whether President Trump and

his family benefited from the tax reform passed in December 2017. ¶52. Chairman Neal likewise

affirmed in the run-up to the elections that Democrats would force disclosure of President Trump’s

tax returns if they won a House majority. ¶76.




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       Once in the majority, House Democrats began constructing a case for demanding the Pres-

ident’s tax information from Treasury. Despite her earlier statement that obtaining the President’s

tax returns would be the “easiest thing in the world” with a House majority, Speaker Pelosi began

to lower expectations after the election. She announced the House Ways and Means Committee

would “take the first steps,” but cautioned that securing the returns is “a little more challenging

than you might think.” ¶78. Nevertheless, Speaker Pelosi continued to promise efforts to expose

the information to the public, saying, “I think overwhelmingly the public wants to see the presi-

dent’s tax returns…. They want to know the truth, they want to know the facts and that he has

nothing to hide.” ¶81.

       The Committee took up the task of fabricating a plausible legal rationale. Chairman Neal

confirmed in October 2018 that he would “get the documents” but warned that “[t]his has never

happened before, so you want to be very meticulous.” ¶79. A spokesperson for Chairman Neal,

while agreeing that exposing the returns was a Democratic priority, cautioned that the Chairman

“wants to lay out a case about why presidents should be disclosing their tax returns before he

formally forces [President Trump] to do it.” ¶82. Neal said in January 2019, “I plan to do it,” and

the Committee was “now in the midst of putting together the case. It will be a long and grinding

legal case.” ¶87.

       In the months of early 2019, Neal consulted with the House’s lawyers, Committee Demo-

crats, and others to construct a case for obtaining President Trump’s tax information that would

stand up in court. In February, he said he was proceeding “quite judiciously,” and that “the idea

here is to…make sure that the product stands up under critical analysis.” ¶89. Later that month,

Neal confirmed his staff was preparing a case, and that the goal was “to figure out what is the most

efficient way to make a request” that would hold up in court. ¶90. He again warned that he and




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other Democrats had to “resist the impulse to say or do something that clouds the case,” and that

he planned to proceed on “a better or more deliberative case base[d] on the advice of counsel.” Id.

       In March, Neal’s spokesperson stated that the Chairman was then “currently in the process

of consulting with the counsel of the U.S. House of Representatives and the Joint Committee on

Taxation to determine the appropriate legal steps to go forward with this unprecedented request.”

¶91. That same month, Chairman Neal told the press that “[w]e continue to work with counsel and

I continue to limit my comments because of counsel’s advice.” ¶93. Committee-Member Kildee,

meanwhile, more or less openly admitted that the Committee was working up a pretextual basis

for demanding the President’s tax information: “[w]hat we need to do, and what the speaker said,

and what Chairman Neal is absolutely doing” is “laying a legal foundation” and “mak[ing] the

justification to use this rarely used authority.” ¶94.

       But while this case was under construction, House and Committee Democrats continued to

make their true purposes plain. For example, Speaker Pelosi’s spokeswoman told the press in

March 2019 that “all roads lead[] back” to President Trump’s tax returns, which would show his

“improprieties,” “potential tax evasion,” and “violations of the Constitution.” ¶96. In February

2019, Committee-Member Pascrell said that “Congress must see [President Trump’s] tax records”

to determine whether he had engaged in “criminal” behavior. Later that month, Pascrell repeated

that the returns needed to be released because they “would likely reveal evidence of criminal con-

duct by Donald Trump.” ¶97. Pascrell maintained a “Trump Tax Returns” website documenting

his continual attempts to obtain them in Congress. Under the heading “Why Is This So Im-

portant?”, he made no mention of the IRS Presidential Audit Program. Instead, he wrote, “it is

imperative for the public to know and understand [President Trump’s] 564 financial positions in

domestic and foreign companies, and his self-reported net worth of more than $10 billion.”




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Committee-Member Doggett, for his part, said in March 2019 that the Committee needed to obtain

President Trump’s returns to uncover “a potential criminal enterprise.” ¶106. Many other Com-

mittee Members echoed these calls for exposure of Trump’s tax information to the American peo-

ple. ¶¶109-115. Committee-Member Gomez put it succinctly in March 2019, “The only thing that

matters is evidence of wrongdoing.” ¶108.

       Chairman Neal finally made the request on April 3, 2019. ¶123. Invoking §6103(f), Chair-

man Neal requested the following information for tax years 2013 through 2018:

       1. The Federal individual income tax returns of Donald J. Trump.

       2. For each Federal individual income tax return requested above, a statement spec-
       ifying (a) whether such return is or was ever under any type of examination or audit;
       (b) the length of such examination or audit; (c) the applicable statute of limitations
       on such examination or audit; (d) the issue(s) under examination or audit; (e) the
       reason(s) the return was selected for examination or audit; and (f) the present status
       of such examination or audit (to include the date and description of the most recent
       return or return information activity).

       3. All administrative files (workpapers, affidavits, etc.) for each Federal individual
       income tax return requested above.

       4. The Federal income tax returns of the following entities:

                  •   The Donald J. Trump Revocable Trust;
                  •   DJT Holdings LLC;
                  •   DJT Holdings Managing Member LLC;
                  •   DTTM Operations LLC;
                  •   DTTM Operations Managing Member Corp;
                  •   LFB Acquisition Member Corp;
                  •   LFB Acquisition LLC; and
                  •   Lamington Farm Club, LLC d/b/a Trump National Golf Club—Bed-
                      minster.

       5. For each Federal income tax return of each entity listed above, a statement spec-
       ifying: (a) whether such return is or was ever under any type of examination or
       audit; (b) the length of such examination or audit; (c) the applicable statute of lim-
       itations on such examination or audit; (d) the issue(s) under examination or audit;
       (e) the reason(s) the return was selected for examination or audit; and (f) the present
       status of such examination or audit (to include the date and description of the most
       recent return or return information activity).



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       6. All administrative files (workpapers, affidavits, etc.) for each Federal income tax
       return of each entity listed above.

       7. If no return was filed for the tax year requested, a statement that the entity or
       individual did not file a return for such tax year.

¶123. The Committee’s request specified only one ostensible legislative purpose: studying “the

extent to which the IRS audit and enforces the Federal tax laws against a President” under the

“mandatory examination” process specified in the “Internal Revenue Manual.” Specifically, the

Committee sought to determine “the scope of any such examination and whether it includes a

review of underlying business activities required to be reported on the individual income tax re-

turn.” ¶124.

       Chairman Neal openly admitted the pretextual nature of this rationale. The next day, he

admitted he had “constructed” a “case” for obtaining President Trump’s tax information. Because

this dispute “is likely to wind its way through the federal court system,” he said that the Committee

“wanted to make sure” the constructed case “was in fact one that would stand up under the critical

scrutiny of the federal courts.” ¶127. The next day, he admitted that the Committee’s “intent is to

test” §6103(f), using the rationale most likely to “stand[] up” in court “under the magnifying

glass.” ¶128. Committee-Member Pascrell described the rationale as “chosen according to coun-

sel” as “the best way” to “make sure we got the tax returns.” ¶130. Indeed, in three years of calls

for the President’s tax information, Chairman Neal’s request was the first time that anyone on the

Committee had mentioned the IRS Presidential Audit Program as a purpose for disclosure. ¶131.

In a series of letters, attorneys for the President and Treasury Department challenged Chairman

Neal’s newly-minted rationale as illegitimate. In response, the Chairman did not dispute that his

new rationale was pretextual; he merely insisted that no one could “question or second guess the

motivations of the Committee.” ¶141.




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       For all their counsel and preparation, the Committee Members have repeatedly contra-

dicted their stated purpose since the April 3 request. They often described their request in terms of

exposing President Trump’s tax information to “the public,” even though public disclosure is a

wholly separate step under the tax code and has nothing to do with helping the Committee study

legislation. To the extent they discussed the IRS’s audit process, they did so in law-enforcement

terms, expressing their desire to audit President Trump’s returns themselves and to uncover evi-

dence of illegal conduct. For example, in a press release issued on the same day as the request,

Chairman Neal said that the request would help the Committee determine whether President

Trump is “complying with” the tax laws. ¶143. That same day, Committee-Member Pascrell ex-

pressed gratitude that President Trump’s “tax records” would “finally” be exposed to “sunlight”

and that President Trump would face “accountability.” ¶146.

       Throughout 2019 and 2020, Pascrell and other Committee Members continued to say that

the Committee needed to see Trump’s tax information to see “how far his crimes go” and otherwise

expose his tax information to the American public. ¶¶147-187. Many House Democrats, including

Committee Members, even lamented publicly that the information was unlikely to be exposed in

time for the 2020 presidential election. ¶187.

       On May 6, 2019, Treasury informed the Committee it could not comply with the request,

citing the lack of a legitimate legislative purpose. ¶216. After compiling and reviewing over 40

pages of Democrats’ public statements, Treasury observed that the request asserts a “purpose that

is at odds with what you and many others have repeatedly said is the request’s intent: to publicly

release the President’s tax returns.” The Committee’s April 3 request was instead “the culmination

of a long-running, well-documented effort to expose the President’s tax returns for the sake of

exposure,” disclosure for mere “political purposes.” ¶217.




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       Treasury also highlighted the “objective” mismatch between the Committee’s audit ra-

tionale and “the terms of [its] request.” The request “does not inquire about the IRS’s procedures

for presidential audits,” ask for “additional information about those policies,” ask “whether [they]

have changed over time,” or ask about “the extensive protections that ensure such audits are con-

ducted with extreme confidentiality and without improper interference.” The request also focuses

on one President, even though most of the requested categories of information have “never been

publicly released with respect to any President.” And it seeks files concerning audits that are still

“ongoing,” which would not allow the Committee to genuinely assess any audit because the Com-

mittee would not know “the outcome.” ¶218.

       The Justice Department agreed with Treasury’s decision. In a memorandum of June 13,

2019, OLC found that “[n]o one could seriously believe that the Committee seeks six years of

President Trump’s tax returns because of a newly discovered interest in legislating on the presi-

dential-audit process…. Recognizing that the Committee may not pursue exposure for exposure’s

sake, however, the Committee has devised an alternative reason for the request.” ¶220. OLC

agreed with Treasury that “the Committee’s request does not objectively ‘fit’ [its] stated purpose.”

“[M]any of the requested documents are barely relevant” to the audit process, including the tax

returns themselves, which are filed before that process begins. ¶221. Instead, OLC found the re-

quest “perfectly tailored to accomplish the Committee’s long-standing and avowed goal” of ex-

posing the President’s tax returns. ¶222.

       2020 Election: President Trump’s tax information was once again an issue in the 2020

presidential election. ¶¶227-32. For example, at a presidential debate, Vice President Joe Biden

said of President Trump in November 2019, “You have not released a single solitary year of your

tax returns. What are you hiding?” He further mused that the President’s tax information would




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show that “foreign countries are paying you a lot. Russia’s paying you a lot. China’s paying you a

lot.” ¶232.

        117th Congress: Even after President Biden was sworn in, House Democrats continued

their quest to obtain and release Intervenors’ tax information. Their request and the purposes be-

hind it, as they have repeatedly explained, are the same in the 117th Congress as they were in the

116th and 115th Congresses. They still believe this information will damage President Trump po-

litically. And they are still motivated to release it because President Trump remains the most high-

profile Republican and their top political rival. As a report described the prevailing Democratic

sentiment in June, Democrats felt it “important” to “keep pursuing” their pending cases against

President Trump—including this one—because “the information they obtain could be relevant po-

litically.” ¶234.

        Shortly after taking office, the Biden Administration decided to reverse the previous posi-

tion of the Departments of Justice and the Treasury and comply with the Committee’s request. On

July 30, the Government revealed a new opinion from the Office of Legal Counsel arguing that

Treasury could turn over President Trump’s tax information. ¶265. Without disputing OLC’s pre-

vious conclusion that the Committee’s stated purpose was entirely pretextual, this opinion con-

cluded that Treasury was bound to accept the Committee’s stated purpose at face value. ¶265.

        As soon as this new opinion was published, House Democrats immediately praised it and

once again expressed their true purpose behind the request: exposure for political advantage and

law enforcement. Speaker Pelosi said that “[t]he American people” would now “know the facts”

about President Trump. ¶270. Committee-Member Doggett said that with the “evidence” from

President Trump’s tax returns, the Committee could now uncover “his tax evasion.” ¶271. Com-

mittee-Member Pascrell expressed approval of OLC’s opinion, called President Trump a “corrupt




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private citizen” and connected “[t]his case” to “Donald Trump’s crimes.” ¶272. With the executive

branch now on its side, the Committee dropped all but the thinnest patina of the pretext for its

request.

       This Litigation: In July 2019, the Committee sued the Government defendants, seeking a

court order to produce the requested documents. Doc. 1. Intervenors joined the suit as defendants.

Doc. 14. This Court then stayed this case in light of the McGahn litigation. After an election, a

series of status reports, and a reversal of position by the Government, the Committee voluntarily

dismissed its claims in August 2021. Earlier that day, Intervenors had filed an answer with coun-

terclaims and cross-claims against both the Committee and the Government. Doc. 113. Intervenors

amended as of right on September 28, and the Committee and the Government have moved to

dismiss Intervenors’ amended counterclaims and cross-claims.

       For the Court’s information, the D.C. Circuit is currently considering many of the same

issues in Mazars. The parties finished their appellate briefing yesterday, and the D.C. Circuit will

hear oral argument on December 13. The disputed issues on appeal include how to evaluate con-

gressional requests that were first issued while President Trump was in office (Mazars, Mazars

lite, or the Committee’s balancing test), how to apply that standard to a request for President

Trump’s financial information, how to assess whether a request pursues invalid purposes (such as

law enforcement and exposure), and how much authority Congress has to impose disclosure and

conflict-of-interest requirements on Presidents. See generally Trump v. Mazars USA, LLP, Nos.

21-5176, 21-5177 (D.C. Cir.).

                                      LEGAL STANDARD
       Rule 12(b)(6) tests whether claimants have satisfied Rule 8, which in turn requires only a

“short and plain statement” of the claim. This standard is “forgiving.” Calif. Cattlemen’s Ass’n v.

U.S. Fish & Wildlife Serv., 315 F. Supp. 3d 282, 288 (D.D.C. 2018). The claimant’s factual


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allegations must be accepted as true. Id. If those allegations create “reasonable factual inferences,”

then the court must accept those inferences as true too. Vantage Commodities Fin. Servs. I, LLC

v. Assured Risk Transfer PCC, LLC, 2019 WL 1877097, at *1 (D.D.C. Apr. 26). If the factual

allegations are “‘general,’” then the court must treat them as though they contain any “‘specific

facts’” that are needed. Calif. Cattlemen’s Ass’n, 315 F. Supp. 3d at 288; e.g., Ruiz v. Millennium

Square Residential Ass’n, 466 F. Supp. 3d 162, 168-69 (D.D.C. 2020). And throughout, the court

must construe everything “in the light most favorable” to the claimant. Vantage Commodities,

2019 WL 1877097, at *1.

       After all that construing, the court must decide whether the claim is “‘plausible.’” ACLJ v.

U.S. Dep’t of State, 2018 WL 784054, at *1 (D.D.C. Feb. 8). Plausible means a “‘reasonable in-

ference that the defendant is liable.’” Id. It does not mean that liability is “probable.” See United

States ex rel. Bid Solve, Inc. v. CWS Mktg. Grp., Inc., 2021 WL 4819899, at *10 (D.D.C. Oct. 15).

And it does not mean that liability is the “most plausible” inference, or even the “more plausible”

inference. Zaidan v. Trump, 317 F. Supp. 3d 8, 20 (D.D.C. 2018). A claim survives dismissal “even

if there are two alternative explanations, … both of which are plausible.” Banneker Ventures, LLC

v. Graham, 798 F.3d 1119, 1129 (D.C. Cir. 2015) (cleaned up). Plausibility simply requires “‘more

than a sheer possibility’” of liability, even if the judge believes the claimant’s chance of winning

is “‘very remote and unlikely.’” Vantage Commodities, 2019 WL 1877097, at *1, *3. The point of

the federal pleading standard, after all, is simply to provide “fair notice of what the claim is and

the grounds upon which it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (cleaned up); accord

Johnson v. City of Shelby, 574 U.S. 10, 11 (2014) (reiterating that Rule 8 is “‘designed to discour-

age battles over mere form’” and “‘to avoid civil cases turning on technicalities’”).




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       The notion that either the Committee or the Government lacks “fair notice” of Intervenors’

claims here is not serious. Intervenors have laid out, in meticulous detail, the events that led up to

this dispute and the reasons why they think the Committee’s request, among other flaws, has an

impermissible purpose. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002) (explaining

that nothing more is required to satisfy notice pleading). “Having informed the [parties] of the

factual basis for their” claims, Intervenors “were required to do no more to stave off threshold

dismissal.” Johnson, 574 U.S. at 12; accord EPIC v. Nat’l Sec. Comm’n on A.I., 419 F. Supp. 3d

82, 95 (D.D.C. 2019) (denying a motion to dismiss because the claimant “strung together enough

allegations … to pass the plausibility threshold”). Three additional points about the legal standard

are important here.

       First, when assessing whether a claim is plausible, courts generally cannot consult “out-

side” materials. Vantage Commodities, 2019 WL 1877097, at *3 n.5. While the Committee is right

that courts can consider outside materials that qualify for “judicial notice,” Cmte.-MTD (Doc. 133)

15, the Committee is wrong about what taking judicial notice means here. Courts can judicially

notice facts only if they are “‘not subject to reasonable dispute’” because they “‘can be accurately

and readily determined from sources whose accuracy cannot reasonably be questioned.’” Maniar

v. Wolf, 2020 WL 1821113, at *4 (D.D.C. Apr. 10) (quoting Fed. R. Evid. 20(b)). While Interve-

nors do not dispute the existence of the various “Legislative and Executive materials” that the

Committee wants to cite, Cmte.-MTD 15, Intervenors heavily dispute their accuracy, truthfulness,

significance, and completeness. That’s what this case is about. “[A]cquiescing to the authenticity

of documents” is “a far cry from agreeing that those documents present a full or fair picture of a

matter a party has a right to dispute.” Hurd v. D.C., 864 F.3d 671, 686 (D.C. Cir. 2017); accord

United States v. Bonds, 12 F.3d 540, 553 (6th Cir. 1993) (denying judicial notice where “[t]here is




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no dispute that the [report] exists, but there is considerable dispute over the significance of its

contents”). This Court can take judicial notice of official documents “not for [their] truth, but for

[their] existence”—for “‘what was said,’” not for “‘the truth of the matter asserted.’” Kaspersky

Lab, Inc. v. DHS, 909 F.3d 446, 464 (D.C. Cir. 2018) (quoting Hurd, 864 F.3d at 686).

       Even in terms of “what was said,” this Court cannot use judicial notice to do what the

Committee asks: “draw an inference in its favor,” “contrary to [Intervenors’] factual allegations.”

Fuentes-Fernandez & Co., PSC v. The Corvus Grp., Inc., 174 F. Supp. 3d 378, 385 n.10 (D.D.C.

2016); see Cmte.-MTD 24, 8 n.5. After “taking judicial notice,” this Court is “still bound to con-

sider all facts in the light most favorable” to Intervenors. Id. The Committee’s suggestion to the

contrary “turns Rule 12(b)(6) on its head.” Fuentes-Fernandez, 174 F. Supp. 3d at 385 n.10; ac-

cord In re Domestic Airline Travel Antitrust Litig., 221 F. Supp. 3d 46, 71 (D.D.C. 2016) (refusing

judicial notice where “Defendants provide the documents in order to present new factual allega-

tions to counter the factual allegations underlying Plaintiffs’ claim as set forth in the Complaint”);

Glob. Network Commc’ns, Inc. v. City of N.Y., 458 F.3d 150, 156 (2d Cir. 2006) (reversing the

district court for using judicial notice to “make a finding of fact” on a contested issue “that con-

troverted the plaintiff’s own factual assertions set out in its complaint”).

       Second, the Committee and the Government make a similar error when they discuss out-

side materials that are supposedly “‘integral’” to Intervenors’ pleading. Cmte.-MTD 14-15; Gov’t-

MTD (Doc. 135-1) 44 n.17. While district courts have “discretion” to consult these extraneous

materials, Vantage Commodities, 2019 WL 1877097, at *3 n.5, the standard for deeming some-

thing “integral” to the complaint is demanding. Materials that are “merely cited” to support “cer-

tain factual allegations” are not integral. Domestic Airline, 221 F. Supp. 3d at 71; accord Sira v.

Morton, 380 F.3d 57, 67 (2d Cir. 2004) (“Limited quotation from or reference to documents that




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may constitute relevant evidence” does not make the documents integral.). A document is not in-

tegral unless the pleading “‘relies heavily on its terms and effect,’” like “a contract or other legal

document containing obligations upon which the [claim] standards or falls.” Glob. Network, 458

F.3d at 156-57; accord Banneker Ventures, 798 F.3d at 1133 (explaining that the prototypical

“integral” document is “a legally operative document that is a necessary element of the claim”).

Here, for example, the Committee’s request for Intervenors’ tax information is integral to their

pleading, but the quotations from various actors are not. Contra Cmte.-MTD 18-19, 24 & n.11.

       Even for documents that are integral, this Court cannot do what the Committee and the

Government ask: It cannot track down the document, credit parts that Intervenors dispute or con-

sider parts that Intervenors didn’t cite, and use them to make findings or draw inferences against

Intervenors. See Menoken v. Dhillon, 975 F.3d 1, 8 (D.C. Cir. 2020) (integral documents cannot

override the duty to “accept a plaintiff’s factual allegations as true and draw all reasonable infer-

ences in a plaintiff’s favor”); Banneker Ventures, 798 F.3d at 1133 (parts that aren’t cited cannot

be integral); Burns v. United States, 542 F. App’x 461, 466 (6th Cir. 2013) (“disputed” materials

cannot be integral). Integral documents cannot be used to “resolve factual disputes against the

[claimant’s] well-pled allegations” or to “override the fundamental rule that courts must interpret

the allegations and factual disputes in favor of the [claimant] at the pleading stage.” Khoja v. Orex-

igen Therapeutics, Inc., 899 F.3d 988, 1014 (9th Cir. 2018).

       Third, a word about the Mazars litigation. For consistency, Intervenors will use the Gov-

ernment’s nomenclature for these cases: “Mazars I,” “Mazars II,” “Mazars III,” and “Mazars IV.”

But technically there are only two Mazars opinions: the Supreme Court’s opinion in Mazars III

and the district court’s remand opinion in Mazars IV. The D.C. Circuit’s opinion in Mazars II was

vacated in full by the Supreme Court, and the district court’s opinion in Mazars I was vacated in




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full by the D.C. Circuit. See 140 S. Ct. at 2036; 832 F. App’x 6, 7 (D.C. Cir. 2020). The Supreme

Court could have affirmed parts of the D.C. Circuit’s opinion. E.g., Collins v. Yellen, 141 S. Ct.

1761, 1789 (2021) (“The judgment of the Court of Appeals is affirmed in part, reversed in part,

and vacated in part”). But it chose to vacate in full. “Of necessity,” the Supreme Court’s “decision

vacating the judgment of the Court of Appeals deprives that court’s opinion of precedential effect.”

O’Connor v. Donaldson, 422 U.S. 563, 577 n.12 (1975); accord United States v. Latney, 108 F.3d

1446, 1449 (D.C. Cir. 1997) (Supreme Court’s vacatur “deprive[s] the opinion of any precedential

effect”); Bonds v. D.C., 93 F.3d 801, 809 n.14 (D.C. Cir. 1996) (vacated decision “lacks preceden-

tial effect”); Weisberg v. Webster, 749 F.2d 864, 870 (D.C. Cir. 1984) (vacated decision “cannot

be considered authoritative law of this circuit”).

       No part of the D.C. Circuit’s opinion in Mazars II binds this Court. The whole “point of

vacatur is to ensure that a decision carries no precedential force.” Van Straaten v. Shell Oil Prods.

Co. LLC, 678 F.3d 486, 491 (7th Cir. 2012). As Judge O’Scannlain put it, “[a] decision may be

reversed on other grounds, but a decision that has been vacated has no precedential authority what-

soever.” Durning v. Citibank, N.A., 950 F.2d 1419, 1424 n.2 (9th Cir. 1991). The Committee cites

the D.C. Circuit’s decision in Action Alliance for the proposition that unaddressed portions of va-

cated opinions “‘continue to have precedential weight.’” Cmte.-MTD 25 n.12. But “precedential

weight,” Action Alliance explains in the next sentence, means that the unaddressed portions can

serve as “persuasive precedent” or “‘guidance.’” Action All. of Senior Citizens of Greater Phila.

v. Sullivan, 930 F.2d 77, 83 (D.C. Cir. 1991). Intervenors agree that some parts of the D.C. Cir-

cuit’s opinion are persuasive. But if this Court follows any part of Mazars II, it is doing so by

choice, not as a matter of binding precedent. And importantly, none of the four Mazars opinions

were decided at the motion-to-dismiss stage. See Mazars III, 140 S. Ct. at 2028 (motions for




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summary judgment and a preliminary injunction); Mazars IV, 2021 WL 3602683, at *1 (motions

for summary judgment).

                                           ARGUMENT
       The Committee’s request for Intervenors’ tax information suffers from three major flaws.

The statute that supposedly authorizes it, 26 U.S.C. §6103(f), exceeds Congress’s authority under

Article I of the Constitution (cross-claim V). The request, too, violates Article I because it lacks a

legitimate legislative purpose (counterclaims & cross-claims I-IV). And it violates other constitu-

tional provisions as well, including the First Amendment, the Due Process Clause, and the separa-

tion of powers protected by Articles I and II (cross-claims VI-VIII). While the Committee and the

Government think they will ultimately disprove Intervenors’ claims, most of their arguments pre-

sent factual disputes that must be resolved at a later stage. Intervenors’ claims are clearly plausi-

ble—in fact, some were once the official position of the United States. This Court should deny the

motions to dismiss.

I.     Treasury cannot comply with the Committee’s request because 26 U.S.C.
       §6103(f)(1) is unconstitutional. (V)
       The Committee requests Intervenors’ tax information only under §6103(f)(1). No subpoena

for Intervenors’ information currently exists, and no other law authorizes the Committee’s request.

See ACCC ¶¶319, 296; Cmte.-MTD 3, 32 (stressing that this case does not involve “a Congres-

sional subpoena”). As for §6103(f)(1), that statute is an exception to the “[g]eneral rule” in

§6103(a), which broadly forbids the disclosure of tax information. See EPIC v. IRS, 910 F.3d 1232,

1237 (D.C. Cir. 2018). So if §6103(f)(1) is unconstitutional, then the general rule controls and

Treasury cannot comply with the Committee’s request. See ACCC ¶320.

       Section 6103(f)(1) can be sustained only as an exercise of Congress’s “power to obtain

information.” Mazars III, 140 S. Ct. at 2031. That power is not enumerated in the Constitution.

See U.S. Const., Art. I, §8. Because Congress “has no enumerated constitutional power to conduct


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investigations,” its compulsory “‘power of inquiry’” is justified only as an “‘auxiliary’” to its enu-

merated legislative powers. Mazars III, 140 S. Ct. at 2031. The power is thus “subject to several

limitations.” Id. The “[m]ost importan[t]” is that Congress’s requests “must serve a ‘valid legisla-

tive purpose.’” Id. In other words, Article I of the Constitution gives Congress no authority to

request someone’s tax information unless that request serves a legitimate legislative purpose.

       Though congressional inquiries are unconstitutional unless they serve a legitimate legisla-

tive purpose, that constraint appears nowhere in the text of §6103(f)(1). The statute commands

that, after receiving the Committee’s written request, Treasury “shall furnish” the requested tax

information. (Emphasis added.) That language is “‘unmistakably mandatory,’” revealing “an ab-

sence of discretion.” Am. Bankers Ass’n v. NCUA, 38 F. Supp. 2d 114, 136 (D.D.C. 1999); accord

Murphy v. Smith, 138 S. Ct. 784, 787 (2018) (“[T]he word ‘shall’ usually creates a mandate, not a

liberty.”). Section 6103(f)(1) has no preconditions other than a “written request,” and the word

“purpose” never even appears. Notably, other provisions of §6103 do require requests for tax in-

formation to be made for specific purposes. E.g., §§6103(d)(1), (h)(1), (h)(2), (h)(3)(B). That Con-

gress required a purpose in those neighboring provisions, but omitted it from §6103(f)(1), means

that §6103(f)(1) affirmatively eschews any such requirement. See Collins, 141 S. Ct. at 1782.

       Section 6103(f)(1) thus exceeds Congress’s authority under Article I. The statute needs a

legitimate-legislative-purpose requirement, but that requirement cannot be “read … into” the stat-

ute via constitutional avoidance. Jennings v. Rodriguez, 138 S. Ct. 830, 843 (2018). Avoidance “is

not a license to rewrite Congress’s work to say whatever the Constitution needs it to say.” Seila

Law LLC v. CFPB, 140 S. Ct. 2183, 2207 (2020). That canon “has no application” absent “statu-

tory ambiguity.” United States v. Oakland Cannabis Buyers’ Co-op., 532 U.S. 483, 494 (2001). It

“‘comes into play only when, after the application of ordinary textual analysis, the statute is found




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to be susceptible of more than one construction.’” EPIC, 419 F. Supp. 3d at 89 (quoting Nielsen v.

Preap, 139 S. Ct. 954, 972 (2019)). As just explained, §6103(f)(1) is not ambiguous. Injecting a

legitimate-legislative-purpose requirement into it “would ‘invent a statute rather than interpret

one.’” Tran v. Gonzales, 411 F. Supp. 2d 658, 665 (W.D. La. 2006) (quoting Clark v. Martinez,

543 U.S. 371, 378 (2005)), aff’d, 515 F.3d 478 (5th Cir. 2008).)), aff’d, 515 F.3d 478 (5th Cir.

2008).

         The Government agrees with most of this analysis. It does not dispute that, if §6103(f)(1)

is declared unconstitutional, then Treasury cannot comply with the Committee’s request. The Gov-

ernment concedes that §6103(f)(1) must be an exercise of Congress’s power of inquiry, and that

the Constitution requires these requests to serve a “legitimate legislative purpose.” 2021 OLC

(Doc. 133-2) 21. The Government also seems to agree that the text of §6103(f)(1) cannot be read

to require a legitimate legislative purpose. See 2021 OLC 18 (“The command of section 6103(f)(1)

is unambiguous”); 2021 OLC 9-10 & nn.10-12 (section 6103(f)(1) does not require the Committee

to have or state any purpose). And the Committee, for its part, has long insisted that §6103(f)(1)

unambiguously forecloses that interpretation. See, e.g., ACCC ¶322; Doc. 1-11 at 2 (arguing that

“[s]ection 6103 has long been regarded as clear and unambiguous” and that “[c]ompliance is not

discretionary under any circumstance”); Doc. 1-5 at 2 (arguing that “the statutory language of

section 6103(f) is unambiguous,” raises “no complicated legal issues,” and creates “‘an obligation

impervious to judicial discretion’”).

         Instead of rebutting these points, the Government makes only one argument and cites only

one case: Salerno v. United States, it argues, requires Intervenors to prove that “‘no set of circum-

stances exists under which [§6103(f)(1)] would be valid.’” Gov’t-MTD 41 (quoting 481 U.S. 739,

745 (1987)). While §6103(f)(1) does not require a legitimate legislative purpose, the Government




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contends that circumstances exist where the statute would be constitutional—namely, where Con-

gress’s request happens to have a legitimate legislative purpose. Gov’t-MTD 41-42.1

       The Government misstates what the law requires of Intervenors. As the Government has

convinced other courts, “Salerno’s no-set-of-circumstances language” is not the “‘test for facial

challenges’” but the “‘result of a facial challenge in which a statute fails to satisfy the appropriate

constitutional standard.’” United States v. Supreme Ct. of N.M., 839 F.3d 888, 917 (10th Cir. 2016)

(quoting Doe v. City of Albuquerque, 667 F.3d 1111, 1127 (10th Cir. 2012)); accord Johnson v.

United States, 576 U.S. 591, 602-03 (2015) (explaining that, despite “statements in some of our

opinions,” the notion that a statute must be unconstitutional “in all applications” is “not a require-

ment”). A facial challenge is simply “an attack on a statute itself.” City of L.A. v. Patel, 576 U.S.

409, 415 (2015). It asks the court to “‘measur[e]’” the statute’s text “‘against the applicable sub-

stantive constitutional doctrine.’” Ezell v. City of Chicago, 651 F.3d 684, 698 (7th Cir. 2011).

When the statute’s “‘terms state an invalid rule of law,’” then the statute “‘can no longer be con-

stitutionally applied to anyone’”—i.e., the statute is invalid “in all its applications, as Salerno re-

quires.” Supreme Ct. of N.M., 839 F.3d at 917; Ezell, 651 F.3d at 698-99; accord Bruni v. City of

Pittsburgh, 824 F.3d 353, 363 (3d Cir. 2016); Lamb’s Chapel v. Ctr. Moriches Union Free Sch.

Dist., 508 U.S. 384, 393 n.6 (1993); Daskalea v. Wash. Humane Soc’y, 480 F. Supp. 2d 16, 36

n.22 (D.D.C. 2007).

        Consider United States v. Lopez, for example. That case involved the constitutionality of

the Gun-Free School Zones Act, which criminalized gun possession in any “‘school zone.’” 514

U.S. 549, 551 (1995). The Supreme Court “h[e]ld that the Act exceeds” Congress’s authority under


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         Intervenors are not raising an “overbreadth” claim. Cf. Gov’t-MTD 41. They contend that
§6103(f)(1) violates Article I both on its face, see ACCC ¶¶318-24, and as applied to Intervenors
here, see ACCC ¶¶290-317.


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the Commerce Clause—in other words, that the Act is facially unconstitutional under Article I of

the Constitution. Id. (emphasis added). The Court reached that conclusion by examining the Act’s

text, including the fact that it “ha[d] no express jurisdictional element” requiring the gun posses-

sion to be connected to “interstate commerce.” Id. at 562. Lopez’s conviction was thus reversed,

as the Act contained “no requirement that his possession of the firearm have any concrete tie to

interstate commerce.” Id. at 567. The Court did not try to read that missing requirement into the

Act, or suggest that the Act could still be applied in cases where the gun possession happened to

satisfy it. The Court conducted the same analysis in United States v. Morrison: It “struck down” a

civil remedy under the Commerce Clause based on its text, without asking whether circumstances

existed where the remedy would be constitutional because the missing commerce element would

be satisfied. See 529 U.S. 598, 602, 608-19 (2000).

       Or consider United States v. Booker. There, the Supreme Court held that the mandatory

sentencing guidelines violated the Sixth Amendment because they required judges to enhance sen-

tences based on facts not found by the jury. 543 U.S. 220, 226-27 (2005). The Court evaluated

“[t]he Guidelines as written” and determined that they were unconstitutional because “they are

mandatory and binding on all judges.” Id. at 233. The Court thus invalidated, for “all cases,” the

“statute that makes the Guidelines mandatory.” Id. at 268, 245. Dissenting, Justice Stevens charged

the Court with violating “the standard for … a facial challenge.” Id. at 275 (Stevens, J., dissenting

in part). He noted that the mandatory guidelines were constitutional in the “vast majority” of cases,

including cases where the jury found the necessary facts. Id. at 276-80. Justice Stevens would have

sustained the mandatory guidelines as written, and either construed them to require jury fact-find-

ing or let defendants raise as-applied challenges. See id. at 284-91. But the Court disagreed. It

could not apply constitutional avoidance because “the statute’s language” was unambiguous. Id.




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at 250 (majority op.). And it had to facially invalidate the statute because the constitutional defect

would “affect every case.” Id. at 248.

       So too here. Section 6103(f)(1) states an invalid rule of law: It allows Congress to request,

and requires Treasury to disclose, information without a legitimate legislative purpose. The entire

statute thus exceeds Congress’s authority under Article I of the Constitution. This constitutional

defect is apparent from the text, cannot be cured through constitutional avoidance, and affects

every application of the statute.

       Even if Treasury chooses to apply the legitimate-legislative-purpose requirement when it

receives requests under §6103(f)(1), that unilateral decision cannot solve the statute’s facial inva-

lidity. See Comite de Jornaleros de Redondo Beach v. City of Redondo Beach, 657 F.3d 936, 946-

47 (9th Cir. 2011) (en banc). Section 6103(f)(1) is not “‘readily susceptible’” to that interpretation,

as explained above, and this Court cannot assume that Treasury will “adhere to standards absent

from the [statute’s] face.” Reno v. ACLU, 521 U.S. 844, 884 (1997); City of Lakewood v. Plain

Dealer Pub. Co., 486 U.S. 750, 770 (1988). A court “would not uphold an unconstitutional statute

merely because the Government promised to use it responsibly.” United States v. Stevens, 559 U.S.

460, 480 (2010) (citing Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 473 (2001)). And the

Government has not promised to use §6103(f)(1) responsibly. Treasury pledges to grant requests

under §6103(f)(1) even if the Committee states no legislative purpose. 2021 OLC 9-10, 19. And it

pledges to accept any legislative purpose that the Committee asserts, unless maybe the asserted

purpose “‘blinks reality’”—an exception that, if not satisfied here, never could be. Gov’t-MTD

12; 2021 OLC 26.

       For all these reasons, §6103(f)(1) is facially unconstitutional. Accepting that conclusion

will have little effect on Congress’s power to legislate: If a committee really needed someone’s




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tax information to study legislation, then it could always issue a subpoena. (Or Congress could

pass a new version of §6103(f)(1) that adopts the constitutional standard.) But the invalidity of

§6103(f)(1) matters a great deal for the separation of powers and individual rights. A subpoena

would unquestionably require a legitimate legislative purpose. Mazars III, 140 S. Ct. at 2031. That

requirement, in turn, is what ensures that Congress’s power of inquiry remains limited and that its

requests are directed only at valid ends. See id. at 2031-32.

II.     Intervenors plausibly allege that the Committee’s request lacks a legitimate legisla-
        tive purpose.
        Even under the Government’s approach to §6103(f)(1), the Committee must have a legiti-

mate legislative purpose for this request. See Gov’t-MTD 41, 16. The Committee lacks one—or

more precisely, Intervenors have plausibly alleged that the Committee lacks one. Because the

Committee’s request targets a President, it implicates the separation of powers and must survive

heightened scrutiny, a standard it cannot possibly satisfy. Even under normal scrutiny, the primary

purpose of the subpoena is not legislation, but exposing President Trump’s tax information and

uncovering alleged wrongdoing. And the legislation that the Committee claims to be studying is

either not pertinent to its request, outside of its jurisdiction, or unconstitutional.

        A.      The request cannot survive the heightened scrutiny that governs congres-
                sional demands for a President’s information. (IV)
        The parties dispute the test that governs whether the Committee’s request serves a legiti-

mate legislative purpose. Intervenors would apply the test from the Supreme Court’s decision in

Mazars. Judge Mehta created a new test on remand in Mazars that he called “Mazars lite,” which

the Government seems to prefer. And the Committee proposes yet another test that would loosely

balance the parties’ interests.

        Intervenors have the better of this dispute. Instead of creating a new test, this Court should

apply Mazars, since the Committee’s request implicates the same separation-of-powers concerns



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that underlie that standard. This Court should at least apply Mazars lite, rather than the Commit-

tee’s unmoored balancing test. And regardless, all three tests would subject the Committee’s re-

quest to some form of heightened scrutiny. That’s all Intervenors need because, accepting their

allegations and inferences as true and construing everything in Intervenors’ favor, the Committee’s

request easily fails any meaningful form of review.

               i.      Mazars applies here.
       In Mazars, the Supreme Court articulated circumstances where Congress’s “information

requests” must satisfy a heightened standard. 140 S. Ct. at 2034. That standard applies here for

two main reasons. First, Mazars applies when congressional requests implicate the separation of

powers, and all agree that this request does that. Second, the Committee’s request is effectively a

request to a sitting President: It was issued while President Trump was in office, was continuously

pursued, and has always been tied to his status as President.

       By asserting that Mazars turned entirely on the presence of a sitting President, the Com-

mittee and the Government stress Mazars’ facts but ignore Mazars’ reasoning. When Mazars was

decided, one of the plaintiffs was, in fact, the sitting President. But the Supreme Court did not

impose the Mazars standard because the subpoenas targeted a sitting President per se. It imposed

the Mazars standard because the subpoenas implicated the separation of powers. See Mazars III,

140 S. Ct. at 2035 (announcing the test because it “takes adequate account of the separation of

powers principles at stake”); id. (articulating the test because it “accounts for these concerns” re-

garding “the separation of powers”). If a legislative subpoena implicated the separation of powers

in other ways, then the Mazars standard would govern that subpoena too. E.g., McLaughlin v.

Mont. State Legislature, 493 P.3d 980, 988 (Mont. 2021) (explaining that Mazars “extends logi-

cally to subpoenas to the judicial branch”).




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       When explaining why the subpoenas in Mazars implicated the separation of powers, the

Supreme Court gave both general and specific reasons. Congressional subpoenas for presidential

papers generally implicate the separation of powers, the Court explained, because they pit “‘op-

posite and rival’ political branches” against each other. 140 S. Ct. at 2033-34. And those specific

subpoenas “fully” implicated “these separation of powers concerns,” the Court continued, because

they sought President Trump’s private financial information—“records of intense political interest

for all involved.” Id. at 2034. The subpoenas in Mazars were “not … a run-of-the-mill legislative

effort,” but “a clash between rival branches” over papers that have “such great consequence” pre-

cisely because of their “personal” nature. Id. at 2034-35.

       Both sets of reasons fully apply here, even assuming that the Committee’s request impli-

cates only a former President. As a category, congressional requests for a former President’s per-

sonal financial information implicate the separation of powers. Given “the dignity and stature” of

the office, requests for a former President’s documents still invite “a conflict between the

branches.” United States v. Poindexter, 727 F. Supp. 1501, 1505 (D.D.C. 1989). The protection

that a President—and, in turn, “‘the Republic’”—needs from congressional demands for his pri-

vate papers “‘cannot be measured by the few months or years between the submission of the [re-

quest] and the end of the President’s tenure.’” Nixon v. GSA, 433 U.S. 425, 449 (1977). If former

Presidents lacked Mazars-level protection from these demands, Congress could “declare open sea-

son” on a former President’s personal papers. Mazars III, 140 S. Ct. at 2034-35. Congress could

then use that threat to influence Presidents’ conduct while in office. And Congress could use that

power to affect who could be President—either by limiting who can run or by punishing those who

could run again. The resulting dynamic would give Congress a new “institutional advantage” over

its chief political rival. Id. at 2036. Notably, the Government, the Committee, and Judge Mehta all




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concede that this separation-of-powers concern exists (though they assign it different weights). See

Mazars IV, 2021 WL 3602683, at *13; Cmte.-MTD 32-33; Gov’t-MTD 32-33.

       This threat is not merely theoretical. The Committee has used this very request to gain an

advantage over President Trump while he was in office, to punish him after he left office, and to

limit him (and his party) moving forward. See ACCC ¶¶334, 332. This threat is not “more attenu-

ated” because some Presidents and candidates have decided to voluntarily disclose their tax re-

turns. Cf. Cmte.-MTD 36. That practice is entirely voluntary and inconsistently followed. See

ACCC ¶12. Nor are these disclosures ever complete. ¶12. Congress could still threaten to disclose

additional years of tax returns, including from years before a President was in office or even a

candidate. And Congress could still threaten to disclose audit files, which no President has ever

disclosed, including while the audits were ongoing.2

       The Supreme Court’s specific reasons why the Mazars subpoenas implicated the separation

of powers also apply here. Mazars deemed the House’s requests for President Trump’s accounting

and banking records to be a “clash” between rivals over “records of intense political interest.” 140

S. Ct. at 2034-35. That observation is even more true about President Trump’s tax returns—“the

holy grail” that elected Democrats have relentlessly tried to obtain and expose for years. ACCC

¶206. True, for former Presidents, the separation-of-powers concerns presented by congressional

requests are “subject to erosion over time.” Nixon v. GSA, 433 U.S. at 451. But no time has passed

here. The Committee requested President Trump’s tax information while he was in office and pur-

sued it, without break, both before and after he left. And President Trump remains House



       2
         The Committee claims that, since President Nixon, “every elected President other than
Mr. Trump has voluntarily released his returns.” Cmte.-MTD 36. It uses the word “elected” to
gloss over President Ford, who did not release his tax returns to the public. President Ford, who
was elected to be Vice President, was still a President.


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Democrats’ top political rival. ACCC ¶¶234, 244, 337. The Committee also admits that it wants

his information only because he served as President. See Mazars III, 140 S. Ct. at 2036 (stressing

that courts must be “particularly” attentive to a subpoena that “contemplates legislation … con-

cerning the Presidency”). In these circumstances, the separation-of-powers concerns that accom-

pany congressional requests to sitting Presidents remain intact.

       These separation-of-powers concerns are not diminished by the fact that the Government

is (now) taking the Committee’s side in this case. Cf. Cmte.-MTD 35-36; Gov’t-MTD 32-33. For

starters, the Government does not appear to agree with the Committee about what test applies to

congressional requests directed at former Presidents. To the extent it takes a position, it “concur[s]”

with Judge Mehta’s decision to apply Mazars lite. Gov’t-MTD 32. All the Government will say

about the Committee’s balancing test is that such a test would be “possible to apply”—a truism

that could be said of virtually any test. Gov’t-MTD 33.

       On the actual legality of the Committee’s request, the Government has taken inconsistent

positions. Treasury and OLC concluded in 2019 that the Committee’s request was unconstitutional

and then concluded the opposite in 2021, literally switching sides in this case. This flip-flop cannot

be reconciled by the fact that President Trump left office. OLC’s 2019 opinion concluded that the

Committee’s request lacks a legitimate legislative purpose because it seeks exposure for the sake

of exposure—a conclusion that would bar a request to even a purely private citizen. 2019 OLC 3,

18, 29-31. That’s why OLC’s 2021 opinion did not try to distinguish its 2019 opinion, but instead

had to expressly reject it. E.g., 2021 OLC 18 (“our mode of analysis differs from the analysis in

the 2019 Opinion”); 2021 OLC 19 (2019 opinion “erred”); 2021 OLC 25 (2019 opinion “mis-

taken”); 2021 OLC 35 (2019 opinion “misplaced”); 2021 OLC 37 (2019 opinion had “problems”).

So even if courts should defer to the incumbent executive, they have no basis to choose one




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incumbent’s position over another incumbent’s position. See Pauley v. BethEnergy Mines, Inc.,

501 U.S. 680, 698 (1991) (“[T]he case for judicial deference is less compelling with respect to

agency positions that are inconsistent with previously held views.”).

       Nor should this Court entertain the suggestion that Mazars applies to subpoenas, but not to

requests under §6103(f). Cf. Cmte.-MTD 3, 32. Both subpoenas and §6103(f) requests are exer-

cises of Congress’s power to obtain information through compulsory process. That’s why the Gov-

ernment concedes that, just like subpoenas, requests under §6103(f) must serve a legitimate legis-

lative purpose. See Gov’t-MTD 16; 2021 OLC 21. But the Mazars test is an application of the

legitimate-legislative-purpose test; it requires courts to consider certain criteria “in assessing

whether a subpoena directed at the President’s personal information is ‘related to, and in further-

ance of, a legitimate task of the Congress’”—i.e., in assessing whether it “serve[s] a ‘valid legis-

lative purpose.’” 140 S. Ct. at 2035, 2031. While Mazars happened to be a case about subpoenas,

the opinion makes clear that its analysis applies to all exercises of Congress’s power to demand

information. See, e.g., id.at 2030 (“congressional demands”); id. at 2031 (“congressional power to

obtain information”); id. (“‘power of inquiry’”); id. at 2034 (“information requests”); id. (“con-

gressional demands”); id. at 2035 (“[c]ongressional demands”); id. (“information disputes”); see

also State Tax Returns, 415 F. Supp. 3d at 45-46 (explaining that the “legitimate legislative pur-

pose” requirement applies “in the context of investigations” and “congressional efforts to gather

information”).

       The Committee cites no constitutionally relevant difference between subpoenas and re-

quests under §6103(f). True, §6103(f) is a statute that went through bicameralism and presentment.

Cf. Cmte.-MTD 17. But so did the criminal-contempt statute that backs up congressional subpoe-

nas (a statute that is much older than §6103(f)). See Act of Jan. 24, 1857, ch. 19, §1 (now codified




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at 2 U.S.C. §192). More broadly, the Supreme Court has never been impressed with the argument

that, because a statute was “signed by the President” who “was able to protect His own interests,”

the judiciary should be less willing to vindicate the separation of powers. Nat’l League of Cities v.

Usery, 426 U.S. 833, 841 n.12 (1976). The “constitutional authority of Congress cannot be ex-

panded by the ‘consent’ of the governmental unit whose domain is thereby narrowed.” New York

v. United States, 505 U.S. 144, 182 (1992); accord Free Enter. Fund v. PCAOB, 561 U.S. 477,

497 (2010) (“the separation of powers does not depend on the views of individual Presidents”).3

       Because the Committee’s request presents separation-of-powers concerns on par with the

subpoenas in Mazars, this Court should apply the Mazars test. It should not apply what Judge

Mehta called “Mazars lite,” a new test that “alter[ed]” the Supreme Court’s framework “in im-

portant ways.” Mazars IV, 2021 WL 3602683, at *13. This “reduced judicial scrutiny” was appro-

priate, according to Judge Mehta, because the subpoena in that case was now directed at a “former

President.” Id. But again, even if the Committee’s request here should be viewed as a request to a

former President, the separation-of-powers concerns that it presents have not dissipated enough to

warrant any alteration to the Supreme Court’s test.

       Independently, Mazars applies here because, effectively, the Committee’s request is a re-

quest to a sitting President. Judge Mehta reached the opposite conclusion in Mazars because he

thought that the original subpoena had “expired along with the 116th Congress” and that the com-

mittee had “reissued” a different subpoena “a month after President Trump left office.” Id. at *8,

*11; see Comm. on Judiciary of U.S. House of Reps. v. Miers, 542 F.3d 909, 911 (D.C. Cir. 2008)


       3
         The Committee’s assertion that subpoenas have some talismanic significance would lead
to absurd results. Instead of “subpoenas,” Congress could pass a statute that lets it make compul-
sory “requests.” Under the Committee’s view, these requests would not be subject to Mazars, even
though they are functionally equivalent to subpoenas. “The Constitution,” however, “does not tol-
erate such ready evasion; it ‘deals with substance, not shadows.’” Mazars III, 140 S. Ct. at 2035.


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(stating that when one “Congress ends,” the prior “House of Representatives will cease to exist as

a legal entity, and the subpoenas it has issued will expire”). But requests under §6103(f) are dif-

ferent, according to the Committee. They do not expire with Congress’s adjournment, but “carry

over from one Congress to the next.” ACCC ¶¶238, 315. Accordingly, when Chairman Neal wrote

another letter to Treasury in June 2021, that letter was not a new request under §6103(f)(1). As the

letter explains, it was merely an “accommodation” to support the Committee’s “continue[d]” re-

quest—the same request that “remains in active litigation.” ¶253. So even if Mazars involved two

separate subpoenas, Intervenors have plausibly alleged (and the Committee has conceded) that

only one request was ever made here.

       That the Committee’s request in April 2019 is still the operative request is important. Under

the governing law, the legality of congressional demands for information must be evaluated “upon

objection.” Watkins v. United States, 354 U.S. 178, 214-15 (1957); see United States v. Rumely,

345 U.S. 41, 48 (1953) (“duty to answer must be judged as of the time of [the] refusal”); Shelton

v. United States, 327 F.2d 601, 607 (D.C. Cir. 1963) (“when the subpoena was issued”). The Com-

mittee’s request was “functionally … issued” to Intervenors, Trump v. Vance, 140 S. Ct. 2412,

2425 n.5 (2020), and Intervenors objected to it in 2019, when President Trump was still President.

See Doc. 1-3. If the request was invalid in 2019 because it failed the Mazars test, then it is invalid

now.

       This timing rule was first articulated in criminal cases, but it applies here as well. As the

Government put it in Mazars, the “concerns” behind this timing rule are “no less important when

congressional subpoenas threaten the separation of powers than when they threaten due process.”

Gov’t-Mazars-Br. 17, Doc. #1860386, Trump v. Mazars USA, LLP, No. 19-5142 (D.C. Cir. Sept.

8, 2020). Even in civil cases seeking prospective relief, separation-of-powers concerns sometimes




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prompt courts to look backward and judge the legality of governmental action at the time it oc-

curred. E.g., Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168-69 (1962) (Chenery

doctrine). Congressional demands that implicate the separation of powers should be treated no

differently. Notably, in Mazars, the Supreme Court cited Watkins (a criminal case) for the propo-

sition that Congress must “adequately identif[y] its aims and explain[] why the President’s infor-

mation will advance its consideration of the possible legislation.” 140 S. Ct. at 2036 (citing Wat-

kins, 354 U.S. at 201, 205-06, 214-15). The cited portions of Watkins explain that “[o]nly the

legislative assembly initiating an investigation can assay the relative necessity of specific disclo-

sures.” 354 U.S. at 205-06 (emphasis added). And the “time” when Congress “must describe what

the topic under inquiry is and the connective reasoning whereby the precise questions asked relate

to it” is “upon objection” by the target. Id. at 214-15.

       The Supreme Court’s decision to incorporate the timing rules from Watkins was deliberate.

Throughout its opinion, the Court stressed the importance of keeping these informational disputes

out of court by fostering accommodation and compromise. E.g., Mazars III, 140 S. Ct. at 2029-31,

2034, 2035. Evaluating these demands as of the time they are made helps do that by forcing Con-

gress to build its case and narrow its requests before it makes them. As the Government put it in

Mazars, the “requirement for [committees] to support [informational demands] when they issue is

one of the basic ‘procedures which prevent the separation of power from responsibility.’” Gov’t-

Mazars-Br. 16 (quoting Watkins, 354 U.S. at 215). Allowing a committee to come up with “‘ret-

roactive rationalization[s]’” after litigation begins would widen “the ‘gulf between the responsi-

bility for the use of investigative power and the actual exercise of that power.’” Gov’t-Mazars-Br.

16-17 (quoting Watkins, 354 U.S. at 204-05; citing Rumely, 345 U.S. at 46).




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       The D.C. Circuit’s decision in Senate Select does not suggest a different rule. Cf. Cmte.-

MTD 34-35. In that case, President Nixon challenged a congressional subpoena based on executive

privilege. Senate Select Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 727

(D.C. Cir. 1974). Executive privilege requires Congress to make a “strong showing of need” that

outweighs “the public interest served by nondisclosure.” Id. at 730-31. In assessing Congress’s

“need” for the President’s information, Senate Select accounted for subsequent developments that

made the documents less essential. See id. at 732-33.

       But Mazars held that executive-privilege cases are not a good fit here. See 140 S. Ct. at

2032-33. The question here is not whether the Committee needs Intervenors’ tax information, but

whether its request serves a legitimate legislative purpose. Id. at 2035, 2031. While need changes

over time, purpose is judged at the outset. See Sessions v. Morales-Santana, 137 S. Ct. 1678, 1696-

97 (2017); United States v. Claes, 747 F.2d 491, 495 (8th Cir. 1984). And purpose does not reset

simply because a document is reissued with minimal changes. See United States v. Grainger, 346

U.S. 235, 248 (1953); McCreary Cty. v. ACLU of Ky., 545 U.S. 844, 873-74 (2005). So even if the

June 2021 request were technically new, it would be “‘entirely correct to say that the new [request]

should be construed as a continuation of the old.’” Oneida Cty. v. Oneida Indian Nation of N.Y.,

470 U.S. 226, 246 n.18 (1985).

       In sum, no matter how this Court views the Committee’s request, the Committee should

have to satisfy the one test that the Supreme Court has articulated in this area: Mazars. Intervenors

have plausibly alleged that, under the Mazars test, the Committee’s request falls far short of what

is needed to demand a President’s tax information. See infra II.A.iii.

               ii.     This Court should reject the Committee’s “balancing” test.
       Like the committee in Mazars, the Committee here asks this Court to subject its request to

a loose “balancing test.” Cmte.-MTD 32. The Committee’s test would be more stringent than the


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test that governs ordinary private citizens—which, again, reflects the Committee’s concession that

requests for the information of a former President are special because they implicate the separation

of powers. But the Committee’s test would be more lenient than Mazars or Mazars lite, which is

why the Committee is pressing it here (and insisting that Judge Mehta “erred” by applying Mazars

lite). See Cmte.-MTD 33. Though the Committee is murky about what it wants this Court to bal-

ance, its test would apparently balance Congress’s “‘interests’” in the requested information

against the separation-of-powers harm that the request would impose on the executive branch. See

Cmte.-MTD 32. Judge Mehta was right to reject this approach. See 2021 WL 3602683, at *13.

       The Committee’s balancing test is improper because Mazars already explains how to eval-

uate legislative demands that present separation-of-powers concerns. Because those concerns have

not diminished in this case, the Mazars test should apply as written. But even if those concerns

had diminished, the Committee provides no persuasive reason to ditch the Supreme Court’s test.

As Judge Mehta recognized, the Committee’s test would have courts needlessly “eschew” two

requirements from Mazars: that requests be “‘reasonably necessary,’” and that Congress demon-

strate its purpose with specific “‘evidence.’” Id. But those requirements are important. They avoid

“‘constitutional confrontation’” and ensure that judicial review isn’t “‘impossible.’” 140 S. Ct. at

2035-36. The Committee does not explain why those concerns are not important here. Nor does it

explain why demanding information from a former President is not a “significant step.” Id. at 2035.

       The Committee cites no case where a court evaluated the legality of a congressional request

for information by balancing Congress’s legislative need against the separation-of-powers harm to

a former President. Its characterization of Nixon v. GSA as a case where a “‘congressional request

was made pursuant to an actual statute’” badly misreads that precedent. Cmte.-MTD 32. In Nixon

v. GSA, former President Nixon challenged the constitutionality of a statute that required the




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executive branch to take and screen his official papers. 433 U.S. at 429. Not only did the case

involve the constitutionality of a statute, rather than a “congressional request” for information, but

the Supreme Court emphasized that the statute in question did “‘not make the presidential materials

available to the Congress.’” Id. at 444. The Court deemed it “highly relevant” that the statute put

“the Executive Branch” in “full control of the Presidential materials,” noting “it is clearly less

intrusive to place custody and screening of the materials within the Executive Branch itself than

to have Congress … perform the screening function.” Id. at 443-44. The Court thus rejected former

President Nixon’s facial challenge to the statute because it was not “unduly disruptive of the Ex-

ecutive Branch.” Id. at 445. The Court applied the framework from Justice Jackson’s concurrence

in the Steel Seizure Case, not anything resembling the Committee’s balancing test. See id. at 441-

43. While Nixon v. GSA helpfully holds that former Presidents can still raise separation-of-powers

challenges, see id. at 439, 448-49, the decision has no further relevance here.

       Courts do employ a kind of balancing test when congressional requests implicate executive

privilege. See Senate Select, 498 F.2d at 730-31. But that test would be far more “demanding” than

the one the Committee proposes now, a point stressed by the committee in Mazars. Agreeing,

Mazars refused to adopt the balancing test from the executive-privilege cases, so the Committee’s

attempt to analogize to those cases now is unpersuasive. 140 S. Ct. at 2032-33.

       Outside of executive privilege, separation-of-powers cases are not usually resolved through

case-by-case balancing. When the Supreme Court balances the branches’ interests, it balances

them in order to ascertain the governing rule; balancing is not the rule itself. For example, in Nixon

v. Fitzgerald, the Court balanced the relative interests to determine that sitting Presidents are ab-

solutely immune from civil suit for official acts. 457 U.S. 731, 754 (1982). The Court did not deem

President Nixon immune because the balance favored him in that particular suit. The Court




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declared all Presidents immune from all such suits because the balance of interests categorically

favored a rule of absolute immunity.

        The Court did the same thing in Mazars. It weighed the relative interests of the legislative

and executive branches in formulating the Mazars test—a “balanced approach” with four criteria.

140 S. Ct. at 2035-36. Those four criteria are requirements that Congress must follow, not nondis-

positive factors to be balanced against each other. A subpoena that is “broader than reasonably

necessary,” for example, could not be sustained simply because Congress has no “other sources”

for the information. Id. at 2035-36. And a subpoena that imposed unacceptable “burdens” on a

President could not be sustained because Congress submitted “detailed and substantial” evidence

of its legislative purpose. Id. at 2036. Balancing went into the creation of the Mazars test; Mazars

is not itself a balancing test.

        A court that applied the categorical-balancing approach from Fitzgerald and Mazars

here—weighing the branches’ relative interests to ascertain the test that will govern informational

demands to former Presidents—would not land on the Committee’s proposal. The Committee

would have courts balance, in every case, Congress’s specific need for the requested materials

against the intrusion on the Presidency. But the Committee admits that this test is a fait accompli.

        The Committee fixes its test by giving the presidential side of the balance a fixed weight

of zero. Requests to former Presidents cannot burden the current President, the Committee notes,

because any production will be done by the former President. Cmte.-MTD 35. And the only sepa-

ration-of-powers concerns raised by demands to former Presidents, it says, are “negligible” or

nonexistent. Cmte.-MTD 30, 4, 35. So unless a committee can articulate no legislative need for

the requested materials—a case that would fail even the ordinary standard for requests to private

citizens—Congress’s stated needs will always outweigh the former President’s burdens. In other




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words, under the Committee’s test, Congress always wins. The Committee’s test would thus

“leav[e] essentially no limits on the congressional [subpoena] power”—an unacceptable outcome

in a context that all agree presents separation-of-powers concerns. Mazars III, 140 S. Ct. at 2034.

Mazars (and even Mazars lite) does a much better job of calibrating the competing concerns.

       Regardless, the Committee’s request fails even its own balancing test, at least once its dice-

loading assumptions are removed. This request is incredibly burdensome on Intervenors, given the

sheer amount of sensitive information that the Committee is requesting and promising to expose.

See infra II.A.iii; ACCC ¶¶317, 289. And the burden on Intervenors matters: The more painful the

request, the greater Congress’s power to use these requests to harass and coerce Presidents. On the

flip side, the Committee doesn’t need troves of Intervenors’ financial information to study vague

proposals or broad reforms to the IRS’s procedures. See infra II.A.iii; ACCC ¶317. Any fair-

minded balancing of the parties’ relative interests would strongly favor Intervenors.

               iii.    The Committee’s request fails any heightened standard.
       In their briefs, the Government and the Committee identify three buckets of legislation that

they think can justify the Committee’s request: laws regulating presidential financial disclosures,

laws regulating presidential conflicts of interest, and laws requiring the IRS to audit Presidents.

Only the mandatory-audit rationale appears in Chairman Neal’s April 2019 request. The conflict-

of-interests rationale only arguably appears in his June 2021 letter. And the financial-disclosure

rationale appears only in the parties’ briefs (and, even then, the parties can’t agree on what the

rationale even is). Accepting Intervenors’ factual allegations and reasonable inferences as true and

construing everything in their favor, these rationales plausibly fail heightened scrutiny.

       Financial Disclosures: Both parties loosely gesture at financial-disclosure laws that the

Committee might study with Intervenors’ information. The Committee, but not the Government,

claims that Congress could pass legislation requiring Presidents to disclose “foreign


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emolument[s].” Cmte.-MTD 38. The Government, but not the Committee, claims that Congress

could pass legislation requiring Presidents to disclose their tax information. Gov’t-MTD 18. Nei-

ther type of legislation can justify the Committee’s request.

        First, the financial-disclosure rationale does not even appear in Chairman Neal’s April

2019 request (or his June 2021 letter, for that matter). Its generic reference to “tax laws” doesn’t

cut it. See Mazars III, 140 S. Ct. at 2036 (rejecting “‘vague’ and ‘loosely worded’ evidence of

Congress’s purpose”). The Committee has presented no “evidence” to support this rationale, let

alone “detailed and substantial” evidence. Id. Nor has it made any attempt to “adequately identif[y]

its aims” or “explai[n] why” Intervenors’ information “will advance its consideration of the pos-

sible legislation.” Id. Although a brief filed in litigation would be too late to do the necessary

explaining, the Committee’s brief also fails to substantiate the financial-disclosure rationale. (And

its complaint and summary-judgment motion don’t even use the word “emolument.” Doc. 1; Doc.

29-2.) It is thus “‘impossible’” for this rationale to satisfy heightened scrutiny. 140 S. Ct. at 2036.

        Substantiation is needed here because the referenced disclosure laws would “concer[n] the

Presidency.” Id. All laws that regulate Presidents “rais[e] sensitive constitutional issues.” Id.; see

infra II.C. As even the D.C. Circuit agreed in Mazars II, disclosure laws can “go too far” and

“begin to ‘prevent the Executive Branch from accomplishing its constitutionally assigned func-

tions.’” Trump v. Mazars USA, LLP (Mazars II), 940 F.3d 710, 735 (D.C. Cir. 2019) (cleaned up),

vacated and remanded, 140 S. Ct. 2019 (2020). Similarly, when California tried to force President

Trump to disclose his tax returns to get on the ballot in 2020, a federal court held that the law likely

violated the Qualifications Clause, Art. II, §1, cl. 5. See Griffin v. Padilla, 408 F. Supp. 3d 1169,

1177-81 (E.D. Cal. 2019), vacated, 2020 WL 1442091. Its reasoning would also apply to Congress.




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U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779 (1995); Powell v. McCormack, 395 U.S. 486

(1969).).

       A disclosure law aimed at emoluments would also have to target actual “emoluments”—a

term that House Democrats incorrectly define to include virtually all business transactions. Blu-

menthal v. Trump, 373 F. Supp. 3d 191, 195 (D.D.C.), vacated, 949 F.3d 14 (D.C. Cir. 2020); see,

e.g., H.R. 5314, 117th Cong., §302 (defining “emolument” to include “commercial transactions at

fair market value”). As the Government has persuasively argued, the Foreign Emoluments Clause

“prohibits only compensation accepted from a foreign government for services rendered by an

officer in either an official capacity or employment-type relationship,” and “[t]he broader inter-

pretation advanced by the Members … covering any profit or gain” violates common “indicia of

constitutional meaning and would lead to absurd results.” Appellant’s Br. 39, Blumenthal, No. 19-

5237, 2019 WL 4857260 (D.C. Cir. Oct. 1). Yet despite all these constitutional landmines, the

Committee provides no details about the legislation it’s considering, leaving this Court unable to

ensure that the request “advances a valid legislative purpose.” Mazars III, 140 S. Ct. at 2036.

       Second, the financial-disclosure rationale cannot justify the “significant step” of subpoe-

naing a President’s papers. Id. at 2035. Congress has passed “extensive” disclosure laws before,

including disclosure laws for Presidents, without ever once requesting a President’s tax infor-

mation. Mazars IV, 2021 WL 3602683, at *16; e.g., Mazars II, 940 F.3d at 734-35 (citing exam-

ples); Mazars I, 380 F. Supp. 3d at 102-03 (same); 5 U.S.C. §7342 (foreign gifts and decorations);

H.R. 5314 §§301-07 (draft emoluments law). Logically, the content of one specific President’s tax

returns and audit files has nothing to do with the policy judgment that emoluments or tax returns

should be disclosed. Disclosure laws rest on “‘Congress’ general belief that public disclosure …

is desirable.’” Mazars II, 940 F.3d at 730 (emphasis added). Any new disclosure law would apply




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to all Presidents (no matter who they are) and would require the disclosure of all specified infor-

mation (no matter the contents). The key questions for legislative study, then, are “predictive pol-

icy judgments”—balancing the benefits of greater disclosure against the risks of inundating the

public with too much information or discouraging certain people from seeking public office. 140

S. Ct. at 2036.

       The Committee’s request is especially unjustified given what the Committee already claims

to know. Again, House Democrats (incorrectly) define “emolument” to mean any profit, gain, or

advantage that a government gives to the President or his businesses. Given President Trump’s

“‘vast business holdings,’” there is no doubt in their minds that he “accepted … Emoluments.”

Blumenthal, 373 F. Supp. 3d at 194-95. By the Committee’s logic, President Trump received mas-

sive quantities of “emoluments” every day. The Committee does not need a line-by-line break-

down of each payment to decide whether it wants to require Presidents to disclose such payments

to the public. While a court or jury might want a “‘full disclosure of all the facts’” or “every scrap

of potentially relevant evidence,” there is “no comparable need in the legislative process.” Mazars

III, 140 S. Ct. at 2036; Senate Select, 498 F.2d at 732. More importantly, Intervenors’ tax returns

simply wouldn’t contain the kind of transaction-by-transaction detail that the Committee would

need to uncover “emoluments.” See ACCC ¶¶284, 27.

       The Committee is similarly convinced already that Presidents and presidential candidates

should be forced to disclose their tax returns. E.g., ACCC ¶¶22-26, 28-30. As the Government

points out, the Committee has already drafted several bills to that effect. Gov’t-MTD 18. And one

of those bills, H.R. 1, was “already considered and passed” by the House before the Committee

even requested Intervenors’ information. Mazars IV, 2021 WL 3602683, at *16; Mazars II, 940

F.3d at 731. The notion that Intervenors’ information “could convince the Senate that the House's




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proposed reforms are necessary” is overly speculative, is not something courts can evaluate, and

would render the limits on Congress’s authority “entirely toothless.” Mazars IV, 2021 WL

3602683, at *16; see also Dodge v. Woolsey, 59 U.S. 331, 355 (1855) (“The senate and house of

representatives of the United States exercise their legislative powers independently of each other”).

       Nor do the Committee and the Government “adequately explain why other sources of in-

formation … could not ‘reasonably provide Congress the information it needs in light of its par-

ticular legislative objective.’” Mazars IV, 2021 WL 3602683, at *15 (quoting Mazars III, 140

S. Ct. at 2035-36). Far more relevant than the tax information of one individual, a committee that

wanted to craft disclosure laws should be speaking to experts on disclosure and government ethics,

accountants and other experts on complex finances, lawyers, and staff. See id. at *16. If the Com-

mittee needed presidential tax returns, it could look at the returns of “every elected President”

since Nixon. Cmte.-MTD 36. And it already has President Trump’s far more detailed financial

disclosure forms. ACCC ¶284; Mazars IV, 2021 WL 3602683, at *16.

       If the Committee somehow needed still more tax information, it would be “just as informed

by investigating the [tax information] of other, non-presidential officials with similar complex in-

terests.” Mazars IV, 2021 WL 3602683, at *16. After all, the Committee does not claim to be

considering retroactive legislation about what President Trump should have disclosed in the past;

it claims to be considering prospective legislation about what future Presidents will have to dis-

close. And the number of people who could serve as future Presidents is endless. In fact, President

Trump’s information is uniquely irrelevant. According to the Committee, his circumstances are

unprecedented and rare. No rational Congress would craft laws that will apply to all future officials

by focusing on a singularly unrepresentative official.




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       Third, the Committee’s request is “broader than reasonably necessary” to study financial-

disclosure laws. Mazars III, 140 S. Ct. at 2036. The Committee never provides “the connective

reasoning” between financial-disclosure laws and the requests it made here. Watkins, 354 U.S. at

215. Even under the Committee’s flawed definition, an emolument is a payment that a President

receives from a government while he is in office. But the Committee’s request (even after its ac-

commodation to Treasury) covers one year from before President Trump was in office and one

year from after he left. Gov’t-MTD 35; see Mazars IV, 2021 WL 3602683, at *26 (narrowing a

subpoena because the emoluments rationale could not justify pre-presidential disclosures). And

the Committee’s request is not limited to “emoluments” or even to payments by governments. Nor

does the Committee explain why it needs six years’ worth of information to study disclosure laws:

If it’s trying to get a sense of what kinds of information should be forcibly disclosed, a one-year

sample should be plenty. The “incremental” benefit of seeing additional years “cannot justify” the

burden. Mazars IV, 2021 WL 3602683, at *17.

       And the “burdens imposed” by the Committee’s request, fourth and finally, are too high to

survive heightened scrutiny. 140 S. Ct. at 2036. The burdens do not stem from the production of

Intervenors’ tax information; requests under §6103(f) are directed to Treasury, not taxpayers. The

relevant burdens instead stem from the disclosure of Intervenors’ sensitive financial information.

And those burdens are massive. The Committee’s request seeks six years of tax information con-

cerning President Trump and his businesses—a dragnet that the Committee expects will sweep in

an “inordinately large and complex” amount of information revealing “sprawling domestic and

international business activities.” Cmte.-MTD 38. It can “scarcely be denied that the public expo-

sure of one’s wallet” is an “invasion of privacy.” DeMasi v. Weiss, 669 F.2d 114, 119 (3d Cir.

1982). “Income tax returns,” in particular, “are highly sensitive documents.” Nat. Gas Pipeline




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Co. of Am. v. Energy Gathering, Inc., 2 F.3d 1397, 1411 (5th Cir. 1993). So much so that taxpayer

privacy “merit[s] constitutional protection.” Church of Scientology of Calif. v. United States, 506

U.S. 9, 13 (1992). As then-Judge Ginsburg put it, the “general ban on disclosure” of tax returns

and audit files “provides essential protection for the taxpayer” by protecting the “sensitive or oth-

erwise personal information in a return.” NTEU v. FLRA, 791 F.2d 183, 184 (D.C. Cir. 1986).

       The Committee’s lack of “specificity” is itself an “‘unnecessary intrusion.’” Mazars III,

140 S. Ct. at 2036. But even worse, the Committee is requesting tax returns and audit files for

years where the IRS’s examinations are still open. ACCC ¶¶340, 309, 346. As Commissioner Ret-

tig once explained, no experienced tax lawyer would advise her client to publicly release his tax

returns during an ongoing audit. ¶8. By trying to force that precise result, the Committee’s request

threatens to compromise Intervenors’ rights vis-à-vis the IRS.

       This substantial burden on Intervenors, in turn, burdens the Presidency. As the breadth and

sensitivity of the requested information increases, so does Congress’s power to use subpoenas to

harass and coerce Presidents. The more painful the request, the bigger the threat. The resulting

“impact on the institutional balance between Congress and the President” is precisely the sort of

“burden” that Mazars says “courts must consider.” DOJ-Mazars-Br. 14.

       This Court also must consider the long-term consequences from the precedent it would set

by upholding the Committee’s request. Mazars III, 140 S. Ct. at 2036. According to Congress, the

Emoluments Clauses apply to the President and millions of federal employees, 5 U.S.C. §7342(a);

6 O.L.C. Op. 156 (1982), and the definition of “emoluments” is incredibly broad. The Committee’s

emoluments rationale thus would allow Congress to request the tax returns and audit files of any

President or executive-branch employee. The Committee needs to see everyone’s tax information,

it would say, to determine whether they are receiving emoluments and whether Congress should




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consent or pass new disclosure laws. That readymade rationale would create a powerful “institu-

tional advantage” for Congress vis-à-vis the executive branch. Mazars III, 140 S. Ct. at 2036.

       Even more troubling is the Government’s argument that the Committee has a right to obtain

President Trump’s tax information to help it study whether Presidents should be forced to disclose

their tax returns. As Judge Mehta recognized, this rationale is circular: Congress could “always”

say that it needs a President to disclose certain information because it wants to study legislation

that would require Presidents to disclose that information. Mazars IV, 2021 WL 3602683, at *20.

This rationale is also unfalsifiable: Whatever reason Congress wants to see this President’s infor-

mation will be a reason that the public should see it too. And in a pinch, Congress can always fall

back on the argument that it cannot know what it will find in the President’s information until it

gets the chance to look. The Government had it right in Mazars: This rationale is indefensible

because it would allow committees to get “‘all the disclosure to which they would be entitled in

the event’ they had already successfully enacted [the disclosure] legislation, ‘and much more be-

sides.’” Gov’t-Mazars-Br. 25 (quoting Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 388

(2004)).

       Conflicts of Interest: The Committee next claims that Intervenors’ tax information could

help it study “legislation to prevent conflicts of interest.” Cmte.-MTD 19. It’s not clear whether

this rationale is separate from its financial-disclosure rationale, since foreign emoluments are the

only concrete thing that the Committee or the Government mentions in their briefs. Cmte.-MTD

19-20; Gov’t-MTD 18-19. Either way, this rationale suffers from the same flaws as the last one.

       As with the financial-disclosure rationale, the Committee has not “adequately identifie[d]”

the legislation that it is considering or “explain[ed] why” that legislation requires President

Trump’s papers. Mazars III, 140 S. Ct. at 2036. Chairman Neal does not even mention this




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rationale in his April 2019 request. See ACCC ¶¶23, 24, 26, 28, 32, 131. That should end the

matter, since congressional requests must be assessed at the time they are made, supra II.A.i, and

Chairman Neal’s June 2021 letter has “the usual infirmity of post litem motam, self-serving dec-

larations,” Rumely, 345 U.S. at 48. Even in the June 2021 letter, Chairman Neal mentions this

rationale in only the most conclusory terms: He speculates that President Trump’s tax returns

“could reveal hidden business entanglements” and “might also show foreign financial influences,”

and that this information “could inform relevant congressional legislation.” Doc. 133-3 at 5 (em-

phases added). This “‘vague’ and ‘loosely worded’ evidence” cannot satisfy heightened scrutiny.

Mazars III, 140 S. Ct. at 2036.

       Again, details are important because, as the D.C. Circuit recognized in Mazars II, “laws

that ‘impose conflict-of-interest restrictions on the President’ … raise difficult constitutional ques-

tions.” 940 F.3d at 733. The conflict-of-interest statutes on the books deliberately exempt the Pres-

ident. See 18 U.S.C. §202(c). For good reason. Congress cannot add to or alter the constitutional

qualifications for being President. Term Limits, 514 U.S. at 798, 803-04. And Article II “‘makes a

single President responsible for the actions of the Executive Branch’”; “[i]t is his responsibility to

take care that the laws be faithfully executed.” Free Enter. Fund, 561 U.S. at 496-97, 493. Thus,

as now-Judge Silberman explained, imposing conflict-of-interest laws on the President would ei-

ther “disempower him from performing some of the functions” prescribed to him by Article II or

would “establish a qualification for his serving as President (to wit, elimination of financial con-

flicts)” beyond those contained in the Qualifications Clause. Memo. from Deputy Att’y Gen. Sil-

berman to Burress 5 (Aug. 28, 1974), bit.ly/31k3rql. Intervenors submit that no such law would

ever be constitutional. But at the very least, the Committee would need a “particularly” detailed




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explanation of what legislation it is contemplating that could overcome these “sensitive constitu-

tional issues.” Mazars III, 140 S. Ct. at 2036. It comes nowhere close.

       All the other flaws with the financial-disclosure rationale also apply here. Conflict-of-in-

terest laws do not justify the significant step of demanding a President’s information because the

relevant judgments are policy questions that can be decided on the existing record, without specific

tax information, or through other sources. In fact, according to the Committee and the two most

recent IRS commissioners, Intervenors’ tax forms are not a useful way to uncover “foreign ties”

or “unknown business relationships.” ACCC ¶¶27, 284. The Committee cannot contradict Inter-

venors’ plausible allegations on this point with extraneous evidence, cf. Cmte.-MTD 41, and the

extraneous evidence it cites only proves that these forms do not contain the kind of granular detail

that the Committee claims to need. The Committee’s request is also broader than reasonably nec-

essary because it is not limited to documents that would show potential conflicts and goes beyond

President Trump’s tenure in office without a logical justification. And the burdens on Intervenors,

the Presidency, and the long-term institutional balance are just as high.

       Presidential Audits: The only legislative purpose that Chairman Neal identified in his

April 2019 request was the Committee’s supposed desire to study the IRS’s mandatory audit pro-

cess for Presidents. As explained below, Intervenors plausibly allege that this pretextual rationale

fails ordinary scrutiny, see infra II.B, so it cannot possibly satisfy heightened scrutiny, see Mazars

III, 140 S. Ct. at 2035-36. But even if this rationale were sincere, Intervenors have plausibly alleged

that the rationale fails on its own terms.

       First, the Committee’s evidence for this rationale is mostly “‘vague’ and ‘loosely worded.’”

Id. at 2036. The Committee’s vacuous statement that it “is considering legislative proposals and

conducting oversight related to our tax laws” is plainly insufficient. Doc. 133-1 at 2; Doc. 133-3




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at 2. In the operative request from April 2019, Chairman Neal identifies only one arguably concrete

proposal: a statute “codif[ying]” the IRS’s mandatory audit process for Presidents. Doc. 133-1 at

2. The Committee also has some questions about “the scope” of the IRS’s current audits, Doc.

133-1 at 2, but those curiosities about existing policy are not themselves legislation. They matter

only insofar as the Committee wants to use the answers to craft legislation that would require the

IRS to audit Presidents a certain way. See Mazars III, 140 S. Ct. at 2031 (the House’s “power ‘to

secure needed information’” is “‘justified solely as an adjunct to the legislative process’”).

       Second, laws that would codify the mandatory audit process cannot justify the “significant

step” of subpoenaing a President’s papers. Id. at 2035. The Committee is not starting on a blank

slate: As the Government notes, the IRS’s presidential audit process is written down, with signif-

icant detail, in the Manual. See Gov’t-MTD 10; ACCC ¶287. The Committee says that some of

those provisions “are outdated and no longer followed,” Doc. 133-3 at 3, but it never says which

ones, suggesting that whatever it’s referring to is insubstantial or immaterial. If the Committee has

additional questions about the details of the presidential-audit process, then those questions can be

answered by talking to the IRS. ACCC ¶¶285-86. Only the IRS can authoritatively explain “the

scope” of the examination, “whether it includes a review of underlying business activities,” “what

happens to the mandatory audit if it is not closed before a President leaves office,” and the like.

Doc. 133-1 at 2; Doc. 133-3 at 7. Once it’s exhausted the IRS’s knowledge, the Committee can

make the “predictive policy judgments” needed to craft and evaluate reforms. 140 S. Ct. at 2036.

       Looking at Intervenors’ files, by contrast, would answer its questions only indirectly and

anecdotally (if at all). An individual file could not reveal an “[un]written” procedure, for example,

but talking to an IRS agent would. Cmte.-MTD 8. And the Committee’s request is particularly

useless as applied to Intervenors, since their audits are still open. If the Committee wants to know




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whether the IRS is properly auditing Presidents, inserting itself into the process before the audit is

complete will create atypical facts and poison the data. ACCC ¶288. To paraphrase the Govern-

ment, until files are closed, the Committee “can only speculate as to the outcomes and whether

[presidential interference] ultimately [will] play any role.” Gov’t-MTD 53. And while the files are

open, the Committee’s request is substantially more burdensome for Intervenors.

       While the Committee says it wants to look at “an actual audit” of “an actual taxpayer,”

Doc. 133-3 at 4, it never explains why it needs that to study the audit process. The closest it gets

is the suggestion that an individual file might show “improper interference by a President or his

representatives.” Doc. 133-3 at 4. That kind of interference likely wouldn’t show up in a file, but

it could be disclosed to the Committee in confidential conversations with IRS agents. The Com-

mittee should at least exhaust the IRS’s available knowledge before it requests a President’s infor-

mation.

       The Committee’s explanation for why it needs President Trump’s information to legislate

is highly unpersuasive. The Committee keeps adding conditions until it’s eliminated everyone but

President Trump: For example, it needs a President, who owns “hundreds of business entities,”

who has “inordinately complex returns,” who “had ongoing audits” when he entered office, and

who “routinely criticized the IRS for auditing him.” Doc. 133-3 at 4-7. The Committee might as

well throw in “who has blonde hair” and “was born in Queens.” The Committee’s logic forgets

that congressional inquiries must be tailored “to a subject matter properly under inquiry, not … to

the person under interrogation.” Rumely v. United States, 197 F.2d 166, 177 (D.C. Cir. 1952).4



       4
          The Committee continues to mischaracterize President Trump’s complaints about being
audited when he was a private businessman as criticisms of the mandatory presidential audit pro-
cess. In the two extraneous articles that the Committee cites, the speakers are clearly discussing
the audits that then-citizen Trump complained about on the campaign trail. See Cmte.-MTD 18-



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       The Committee does not need all these conditions satisfied. The Committee’s legislation

would govern all “future President-taxpayers,” so it’s neither wise nor necessary to focus on the

information of one admitted outlier. Doc. 133-3 at 7. If these conditions were somehow important

to legislation, the Committee could draw on the vast pool of non-presidential taxpayers who satisfy

them. E.g., ACCC ¶¶279-80. The pool of future Presidents is endless, after all; and once they start,

presidential audits do not proceed differently than other audits. ¶287. Even if Presidents somehow

mattered, other Presidents were subject to the mandatory audit process and satisfy the Committee’s

conditions. ¶¶278, 281. Those officials might cooperate, if they’ve already disclosed their returns.

       Next, the Committee’s request is “broader than reasonably necessary” and places excessive

“burdens” on Intervenors. 140 S. Ct. at 2036. As explained, the burdens of public disclosure are

substantial, and the request causes more acute burdens because Intervenors’ files remain open. The

Committee could also study the IRS’s processes by reviewing the audit files alone; the tax returns

add little to the Committee’s legislative goals (though they add a lot to the Committee’s invalid,

non-legislative goals). ACCC ¶310.

       The parties also give no coherent explanation for requesting two years when President

Trump wasn’t in office. The Government claims that the Committee sought an extra “year on either

side” of his presidency because audits are sometimes “expanded to include prior year and related

returns.” Gov’t-MTD 35. But consulting “prior year” returns does not explain the year after Pres-

ident Trump left office; and regardless, requesting extra years is premature until the Committee

has some basis to think such an expansion happened here. See Mazars IV, 2021 WL 3602683, at




19. As Intervenors explained, the IRS routinely audits wealthy individuals like President Trump;
President Trump felt like he was “always” and “automatically” under audit because of his political
views; the IRS was auditing him before, during, and after his first campaign; and those ongoing
audits were the reason he would not voluntarily disclose his tax returns. See ACCC ¶¶256, 6-8.


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*26 (rejecting such “speculation without any limiting principle”). Unlike the Government, the

Committee says that it sought “returns for the two tax years preceding Mr. Trump’s presidency.”

Cmte.-MTD 41 (emphasis added). Even if the Committee had those dates right, nonpresidential

years have nothing to do the process for auditing Presidents, and would provide no information

that the Committee needs to consider broad reforms.

       Finally, the Committee’s request is broader and more burdensome than reasonably neces-

sary because it promises no confidentiality. The Committee does not deny that, if it receives a

favorable ruling in this case, it will quickly publish Intervenors’ information. Cf. Cmte.-MTD 26.

But the Supreme Court rejects “the proposition that in order to perform its legislative function

Congress not only must at times consider and use actionable material but also must be free to

disseminate it to the public at large.” Doe v. McMillan, 412 U.S. 306, 316 (1973). The Committee

can intelligently craft and study reforms to the IRS’s audit process without exposing Intervenors’

tax information to the entire world. Crafting legislation might require knowledge or temporary

possession, but it shouldn’t require permanent relinquishment or public disclosure. Study is not

meaningfully hindered by confidentiality; only invalid, nonlegislative goals are.

       This Court should thus decline to enforce the Committee’s request until it guarantees In-

tervenors protection from public disclosure. This approach is supported by Mazars. The Supreme

Court not only held that Congress cannot subpoena a President unless its request is “reasonably

necessary” and not overly “burden[some].” 140 S. Ct. at 2036. But it actually cited an example of

an accommodation between the President and Congress where “documents were made available,

but only for one day with no photocopying, minimal notetaking, and no participation by non-

Members.” Id. at 2030. Section 6103(f) likewise requires committees to review tax information

while they are in a “closed executive session.” And Congress guaranteed confidentiality the only




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other time it subpoenaed former Presidents—when it sought the testimony of former Presidents

Tyler and Adams concerning the possible impeachment of Daniel Webster. See H. Rep. No. 29-

684, at 4 (1846). The Court should take a “‘considerable impression’” from this “‘practice of the

government’” and require the same protection here. Mazars III, 140 S. Ct. at 2035.

       B.      The request’s primary purpose is not legislative.
       Congressional demands for information “must serve a ‘valid legislative purpose.’” Mazars

III, 140 S. Ct. at 2031. By its terms, this legitimate-legislative-purpose test requires courts to as-

certain a request’s “purpose” and then assess whether that purpose is “legislative” and “valid.”

Because Congress’s “power to obtain information” is “‘justified solely as an adjunct to the legis-

lative process,’” any request that serves a non-legislative purpose is necessarily invalid. Id. The

Supreme Court has identified two common examples of invalid, nonlegislative purposes, which it

made a point to reiterate in Mazars: “‘law enforcement’” and “‘expos[ure] for the sake of expo-

sure.’” Id. at 2032. Congress cannot issue requests “for the purpose of ‘law enforcement,’ because

‘those powers are assigned under our Constitution to the Executive and the Judiciary.’” Id. And

Congress cannot issue requests “‘to expose for the sake of exposure’” because the Constitution

gives it “no ‘general’ power to inquire into private affairs and compel disclosures.” Id.

       Intervenors contend that the Committee’s request pursues one or more of these invalid,

non-legislative purposes. Although Mazars blessed this exact sort of challenge, the Committee and

the Government think it’s nearly impossible to bring. They insist that courts must accept Con-

gress’s formal statement of purpose, and they characterize any attempt to consult other objective

evidence of purpose as an impermissible inquiry into “motive.” Cmte-MTD 16, 20-22; Gov’t-

MTD 1, 19-22. The Committee and the Government argue that this approach is required by the

“presumption of regularity,” though they concede that a court could invalidate a congressional

request in “‘exceptional circumstances,’” in “‘obvious’” cases, or in cases where the request could


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not “‘fairly be deemed’” legislative. Gov’t-MTD 12, 20; Cmte.-MTD 22. Respectfully, the Com-

mittee and the Government misread the caselaw and misstate the standard.

       Contra the Committee and the Government, Intervenors’ purpose-based claims do not turn

on “motive”—a term that neither the Committee nor the Government bothers to define. Purpose

and motive are “not the same.” State Tax Returns, 415 F. Supp. 3d at 47. Purpose is the Commit-

tee’s “intended outcome,” based on “what” it is doing and what it has said publicly. Jewish War

Veterans of USA, Inc. v. Gates, 506 F. Supp. 2d 30, 60 (D.D.C. 2007). Motive is “why” the Com-

mittee is acting—its “unexpressed or psychological” desires. Id.; Bauchman ex rel. Bauchman v.

W. High Sch., 132 F.3d 542, 560 (10th Cir. 1997). Motive is “why an individual Member sponsored

or supported an [action],” and purpose is “what that [action] was designed to accomplish.” Jewish

War Veterans, 506 F. Supp. 2d at 60.

       As Judge Bates has explained, the distinction between purpose and motive is “admittedly

a fine one,” but “is nevertheless a distinction that finds support in the case law and hence must be

respected.” Id. (cleaned up); e.g., Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2573, 2575-

76 (2019) (explaining that courts normally cannot inquire into the “‘motivation’” or “unstated

reasons” of “another branch of Government,” but must “scrutinize[]” another branch’s “reasons”

by examining “the record” and “viewing the evidence as a whole.”). While litigants cannot sue

Congress for illegitimate motives, they can sue Congress for illegitimate purposes—after all, the

governing standard is called the “legitimate legislative purpose” test. To gauge purpose without

delving into motive, courts “must focus … on objectively discernible conduct or communication

that is temporally connected to the challenged activity.” Bauchman, 132 F.3d at 560; see, e.g.,




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Mazars II, 940 F.3d at 767-71 (Rao, J., dissenting) (consulting the objective evidence to conclude

that a subpoena’s purpose was nonlegislative).5

       When assessing this objective evidence of a committee’s purpose, courts do not limit them-

selves to one particular document, such as the request itself. They assess “all the evidence” of

purpose and consider requests “in their entire setting.” United States v. Icardi, 140 F. Supp. 383,

388 (D.D.C 1956); United States v. Cross, 170 F. Supp. 303, 306 (D.D.C 1959). “Each situation

must be analyzed on its own special facts,” Hentoff v. Ichord, 318 F. Supp. 1175, 1182 (D.D.C.

1970), and “several sources are available in aid of ascertaining” Congress’s purpose, Shelton, 404

F.2d at 1297. Relevant evidence includes “documents,” “resolutions,” “hearings,” “letter[s],” “re-

port[s],” “testimony,” “statement[s] of the Chairman,” “statements of the members of the commit-

tee,” the requests themselves, and all other “things said and done by [the committee’s] chairman,

counsel, and members.” Icardi, 140 F. Supp. at 388; Shelton v. United States, 404 F.2d 1292, 1297

(D.C. Cir. 1968); Cross, 170 F. Supp. at 308-09. In short, “‘the District Court must take evidence

and determine for itself whether or not [the challenged action] was within the ‘legitimate legisla-

tive needs of Congress.’” Doe v. McMillan, 566 F.2d 713, 717 (D.C. Cir. 1977).




       5
          The plaintiffs in Mazars also raised a purpose-based challenge to that subpoena. Contrary
to the Government’s suggestion, see Gov’t-MTD 15, no court in that litigation rejected Interve-
nors’ distinction between purpose and motive. The D.C. Circuit assumed it existed and found it a
useful way to decide the case. See Mazars II, 940 F.3d at 726. Judge Rao accepted the distinction.
Id. at 767-68, 751 (Rao, J., dissenting). The Supreme Court did not address the plaintiffs’ purpose-
based challenges, but it agreed that those kinds of challenges are legitimate. See Mazars III, 140
S. Ct. at 2032. And Judge Mehta assumed that purpose and motive are distinct, though he thought
the distinction was “ill defined.” See Mazars IV, 2021 WL 3602683, at *10. In the related Deutsche
Bank litigation, the Second Circuit likewise accepted “the distinction between motive, i.e., the
reason for acting, and purpose, i.e., the result sought.” Trump v. Deutsche Bank AG, 943 F.3d 627,
664 (2d Cir. 2019), vacated sub nom. by Mazars III, 140 S. Ct. 2019; accord id. at 689 (Livingston,
J., concurring in part and dissenting in part).


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       Relatedly, courts do not automatically accept a committee’s formal statement of purpose,

if that statement is contradicted by the other objective evidence. As the Supreme Court has stressed

from the beginning, “‘The house of representatives is not the final judge of its own power’”; “‘the

legality of its action may be examined and determined by this court.’” Kilbourn v. Thompson, 103

U.S. 168, 199 (1880). And as the Supreme Court reiterated in Mazars, courts cannot refuse “to see

what all others can see and understand” about why Congress is demanding certain information.

140 S. Ct. at 2034 (cleaned up; quoting Rumely, 345 U.S. at 44); accord Dep’t of Commerce, 139

S. Ct. at 2575 (“[Courts] are ‘not required to exhibit a naiveté from which ordinary citizens are

free.’”); Deutsche Bank, 943 F.3d at 664 (plaintiffs can prove the illegality of congressional re-

quests where “the valid legislative purposes that the Committees have identified” are “artificial

pretexts”).6

       The legitimate-legislative-purpose test is not a paperwork requirement; it’s the essential

check that ensures Congress stays “limited to the exercise of the powers appropriate to its own

department and no other.” Kilbourn, 103 U.S. at 191. And Congress’s powers must remain limited

“to ensure the protection of ‘our fundamental liberties.’” Morrison, 529 U.S. at 616 n.7. If courts

“simply assume[d] … that every congressional investigation is justified,” then they would “abdi-

cate the responsibility placed by the Constitution upon the judiciary to insure that the Congress

does not unjustifiably encroach upon” individual rights. Watkins, 354 U.S. at 198. Blind



       6
          Both the Committee and the Government stress language in Mazars instructing courts to
evaluate “‘the asserted legislative purpose’” and “‘the evidence offered by Congress.’” Cmte.-
MTD 21; Gov’t-MTD 21. Their italics are unhelpful because they only raise the question how
Congress “assert[s]” its purposes and “offer[s]” its evidence. Nothing in Mazars supports the no-
tion that courts should ignore reliable, objective evidence of congressional purpose in favor of
Congress’s mere say-so. Cf. 140 S. Ct. at 2035 (“courts must perform a careful analysis”); id.
(“carefully assess”); id. at 2036 (“be attentive”); id. (“be careful to assess”); id. (“should be care-
fully scrutinized”); id. at 2035 (the Constitution “‘deals with substance, not shadows’”).


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acceptance of Congress’s asserted purpose would “leav[e] essentially no limits” on Congress’s

authority to demand information—“just as the Framers feared”—because “any type of infor-

mation” has “some relation to potential legislation.” Mazars III, 140 S. Ct. at 2034.

       The “presumption of regularity” does not alter this analysis. Cf. Cmte.-MTD 17; Gov’t-

MTD 12. For starters, that presumption doesn’t apply here. Although the D.C. Circuit’s decision

in Mazars II “did not take adequate account” of the separation of powers, Mazars III, 130 S. Ct. at

2036, even that decision refused to “deferential[ly] presum[e]” that Congress had a legitimate leg-

islative purpose. Mazars II, 940 F.3d at 725. The D.C. Circuit assumed that Congress received “no

deference” because its subpoena targeted a President and, thus, “separation-of-powers concerns

… linger in the air.” Id. Separation-of-powers concerns do more than linger here; the parties con-

cede that they are present. Deferential presumptions thus have no place. See Morrison v. Olson,

487 U.S. 654, 704-05 (1988) (Scalia, J., dissenting) (noting that the majority opinion was right not

to give “deference to Congress’s view” because, when “the issue pertains to separation of powers”

and the political branches disagree, “neither can be presumed correct”).

       The presumption of regularity also plays a minimal role at the pleading stage. The pre-

sumption goes to a claimant’s burden of proof, not pleading. See Ware v. U.S. Fed. Highway Ad-

min., 2005 WL 2416667, at *5 (S.D. Tex. Sept. 30) (stressing that whether the plaintiff could

“overcome the presumption of legality” goes “to the merits” of the case and “cannot rest on the

pleadings”), aff’d, 255 F. App’x 838 (5th Cir. 2007); Dobruck v. Borders, 2016 WL 7157557, at

*3 (M.D. Fla. Dec. 8) (similar). The presumption cannot be used to create a heightened pleading

standard. See Swierkiewicz, 534 U.S. at 513. To the extent that it applies to the pleading stage at

all, it would merely require a claimant to allege facts that if proven would plausibly rebut the




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presumption—something Intervenors easily did here. See McDonough v. Anoka Cty., 799 F.3d

931, 948 (8th Cir. 2015).

       When “determining this motion to dismiss” in particular, the Court should “decline[] to

apply” the “presumption of regularity” because the presumption “would cut both ways.” Siddiqui

v. Cissna, 356 F. Supp. 3d 772, 776 (S.D. Ind. 2018). This Court would also have to give a pre-

sumption of regularity to the Government’s prior conclusion that the Committee’s request serves

no legitimate legislative purpose, see ACCC ¶¶216-22; to the views of other legislators that the

Committee’s request serves no legitimate legislative purpose, e.g., ¶¶1, 137-38, 225, 275-76, and

to the Committee’s conclusion in the 115th Congress that requests for President Trump’s tax in-

formation serve no legitimate legislative purpose, e.g., ACCC ¶27.

       Even where the presumption of regularity applies, it is not nearly as strong as the Commit-

tee suggests. The legality of congressional demands must be “judged in the concrete, not on the

basis of abstractions.” Barenblatt v. United States, 360 U.S. 109, 112 (1959). Courts can give

Congress “every reasonable indulgence of legality,” but their “deference” cannot be “unneces-

sary” or “unreasonable.” Watkins, 354 U.S. at 204 (emphasis added). Courts cannot simply ask

whether “there is any legislative purpose which might have been furthered” by the request. Id. Nor

will Congress’s “mere assertion of a need to consider ‘remedial legislation’” suffice. Shelton, 404

F.2d at 1297. Courts must look at all the “available” evidence, “examin[e]” the “particular inquiry

in question,” and determine whether the presumption of regularity has been “controverted by ad-

equate evidence to the contrary.” Id.; Cross, 170 F. Supp. at 306.

       The relevant precedents all engage in this record-based review, no matter whether they

affirm or reject the congressional demand. In Icardi, for example, this Court did not simply defer

to the committee’s stated legislative goals; it consulted “all the evidence” and concluded that the




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committee was impermissibly pursuing law enforcement. See 140 F. Supp. at 386-88. This Court

did the same thing in Cross. See 170 F. Supp. at 305-10 (finding an invalid purpose based on “a

realistic construction” of “the record as a whole”). Likewise, in Kilbourn, the Supreme Court de-

termined that a congressional investigation was pursuing law enforcement, not legislation, after

reviewing “the gravamen of the whole proceeding.” 103 U.S. at 195. While the Court found in

Barenblatt that “‘the primary purposes of the inquiry’” were “legislative,’” it did so only after it

had “scrutinized the record,” including the opening “statement” of the committee chair, the hearing

“testimony,” and “the Committee’s report.” 360 U.S. at 130-33 & n.33. Similarly, in McGrain v.

Daugherty, the Court found insufficient evidence that legislation was not the Senate’s “real ob-

ject,” but it noted that the answer would have been different “if an inadmissible or unlawful object

were affirmatively and definitely avowed.” 273 U.S. 135, 178-80 (1927); see also 2019 OLC 23-

24 (reading the caselaw and reaching similar conclusions).

       Here, Intervenors have alleged that the “primary purpose,” “gravamen,” and “real object”

of the Committee’s request is non-legislative. Instead of studying legislation, the Committee seeks

to expose President Trump’s tax information for the sake of exposure or to conduct a form of law

enforcement. Under any standard, Intervenors’ claims are sufficient to raise a plausible inference

of liability. See Curry v. Sunbelt Insulation Co., Inc., 2009 WL 10703989, at *4-5 (N.D. Ala. Apr.

29) (explaining that, “for purposes of [a] Rule 12 motion,” it had to accept the counterclaimant’s

“factual allegation” that the challenged actions “were not undertaken for [permissible] purposes,”

“[w]hether or not this allegation ultimately squares with the evidence”); Welch v. Theodorides-

Bustle, 677 F. Supp. 2d 1283, 1287 (N.D. Fla. 2010) (“Twombly and Iqbal do not require useless

details… [A]lleging generally that there was no proper purpose … is enough.”).




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               i.      The request’s purpose is exposure for the sake of exposure. (I)
       One impermissible purpose for congressional demands, the Supreme Court made a point

to reiterate in Mazars, is “‘expos[ure] for the sake of exposure.’” 140 S. Ct. at 2032. This purpose

is impermissible because disclosure by itself is “not … legislative.” Hutchinson v. Proxmire, 443

U.S. 111, 133 (1979). Congress has “no general power to inquire into private affairs and compel

disclosures.” Mazars III, 140 S. Ct. at 2032 (cleaned up). While much of Congress’s work happens

in public view, it cannot disclose information to the public without a “legislative purpose,” McMil-

lan, 412 U.S. at 317; McSurely v. McClellan, 553 F.2d 1277, 1286 (D.C. Cir. 1976); accord Miller

v. Transamerican Press, Inc., 709 F.2d 524, 531 (9th Cir. 1983) (“The ‘informing function’ of

Congress is that of informing itself about subjects susceptible to legislation, not that of informing

the public.”). And it cannot make requests “where the predominant result can only be an invasion

of the private rights of individuals.” Watkins, 354 U.S. at 200. As Judge Nichols put it, the purpose

of “publish[ing President Trump’s] tax returns publicly” is “wholly non-legislative.” State Tax

Returns, 415 F. Supp. 3d at 45.

       Intervenors have plausibly alleged that the “primary purpose” of the Committee’s request

is precisely that—exposing President Trump’s tax information to the public for nonlegislative rea-

sons. The Treasury and Justice Departments found that the Committee actually had that purpose,

so of course Intervenors have plausibly alleged it. The executive branch reached that conclusion—

under the threat of contempt—after examining the request, conducting a comprehensive review of

the record, and relying on its expertise on tax matters and its experience fielding congressional

requests. ACCC ¶¶217-22. An independent inspector general found no irregularities in the execu-

tive branch’s decision-making process. ¶¶224-25, 276. And when the executive branch changed

its legal position in 2021, it notably did not dispute the factual record that it had previously com-

piled. ¶265; see Wiseman v. New Breed Logistics, Inc., 72 F. Supp. 3d 672, 684 (N.D. Miss. 2014)


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(explaining that “shifting explanations” suggest an improper purpose, especially when the shift is

away from a rationale that’s supported by the facts to one that isn’t).

       When deciding whether Intervenors plausibly alleged an impermissible purpose, this Court

need look no further than the fact that the “‘gatekeepers of federal tax information’” in the execu-

tive branch once drew that very conclusion. Gov’t-MTD 32; cf. Pub. Citizen, Inc. v. Trump, 297

F. Supp. 3d 6, 28 (D.D.C. 2018) (deeming a claim plausible in part because “statements from

Executive Branch officials corroborate Plaintiffs’ theory”). If that weren’t enough, other members

of Congress with first-hand knowledge of the Committee’s decision-making process and legisla-

tive needs also drew the same conclusion. ACCC ¶¶1, 137-38, 225, 275-76. As did many reason-

able observers, even ones who shared the Committee’s goal of exposing President Trump’s tax

information. E.g., ¶¶133-36, 139-40.

       Everyone understood that the Committee’s primary purpose was exposure because, as In-

tervenors allege in painstaking detail, the key actors openly admitted that purpose in numerous

public statements. See McLeod-Sillah v. D.C., 2020 WL 6060313, at *3 (D.D.C. Oct. 14) (explain-

ing that statements from decisionmakers can “clea[r] the ‘low bar’” of plausibility, even if they are

open to multiple interpretations); Faith Action for Cmty. Equity v. Hawaii, 2014 WL 1691622, at

*14 (D. Haw. Apr. 28) (explaining that “comments” are “direct evidence” of improper purpose).

Over and over, Committee members described their goal as “releas[ing]” or “expos[ing]” President

Trump’s tax information to “the public” or “the American people.” E.g., ACCC ¶¶24, 26, 28-29,

35-40, 47, 60-61, 64, 68-69, 109, 116, 167-72, 176, 178, 270. The speakers described disclosure

as an end in itself, not as a means to study legislation; and they often admitted that their goal was

to undo President Trump’s decision not to voluntarily disclose his returns during the campaign.

E.g., ¶¶11, 28, 38-39, 67, 70, 170, 175. Candidates, of course, do not release their returns to help




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Congress study legislation. And Committee members openly admitted that they wanted exposure

for non-legislative goals: examining President Trump’s net worth, checking how much he gave to

charity, and more. E.g., ¶¶40-41, 45, 58, 102, 145, 147, 156, 160, 163, 171-72, 174, 241. And they

wanted to do so before the November 2020 election, a date that had political but not legislative

significance. ¶¶187, 85, 142.

       If these smoking guns weren’t enough, Intervenors also allege voluminous circumstantial

evidence of the Committee’s improper purpose. For example, the reasons that Committee members

gave for wanting President Trump’s tax information were inconsistent and constantly changing.

E.g., ¶¶28, 32, 36, 95, 142, 255. In the (rare) instances where they gave policy-based reasons, they

latched onto the most convenient topic du jour: They wanted President Trump’s tax information

to show a “Russia connection” during the Mueller investigation, to show his family’s tax rate

during debates over tax reform, and to prove criminal wrongdoing during impeachment. E.g., ¶¶26,

52, 159, 186. While legislative goals can theoretically change over time, cf. Cmte.-MTD 24, a fact-

finder could plausibly infer that these “shifting rationales” were “cover for something else”: a

desire to expose President Trump’s information for improper purposes, by any means necessary.

Appelbaum v. Milwaukee Metro. Sewerage Dist., 340 F.3d 573, 581 (7th Cir. 2003); accord Allen-

Brown v. D.C., 174 F. Supp. 3d 463, 474 (D.D.C. 2016).

       Similarly, when the Committee did articulate a formal legislative purpose, its stated ra-

tionale was obviously pretextual. See Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133,

143 (2000) (that the “‘proffered explanation is unworthy of credence’” suggests an improper pur-

pose). The assertion that the Committee wanted to use Intervenors’ information to study the IRS’s

mandatory audit process came out of nowhere: No members had mentioned this interest in the first

two years of President Trump’s tenure, and the members soon abandoned it. ACCC ¶¶32, 131, 26,




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142; see Hamilton v. Geithner, 666 F.3d 1344, 1355-56 (D.C. Cir. 2012) (absence of “contempo-

raneous” support for a “proffered explanation” could “lead a reasonable jury to doubt [it]”). When

this litigation was stayed, for example, Committee members wanted to request President Trump’s

state tax returns—a move that would help them expose President Trump’s information but not

help them study IRS audits. ACCC ¶¶188-98. The Committee’s decision to choose an ill-fitting,

never-before-articulated rationale made sense little sense in terms of legislating, but made perfect

sense in terms of achieving its true goal of exposure. By sticking to tax-specific legislation, House

Democrats could let Ways and Means make the request—the only committee that can both obtain

tax returns and disclose them to the public. See ACCC ¶215.

       Chairman Neal admitted that his audit rationale was created by the Committee’s attorneys

as a litigation strategy. ACCC ¶¶86-94, 126-31; see Person v. Horizon Health Corp., 2011 WL

6339708, at *3 (D. Utah Dec. 19) (“documents prepared in anticipation of litigation raise an infer-

ence of pretext”). While it’s always good to get legal advice, cf. Cmte.-MTD 24, that’s not what

Chairman Neal said he was doing. He said the Committee had “constructed” a “product” that gave

the Committee the best chance to win in court and “g[e]t the tax returns”; and he instructed his

fellow Committee members to watch what they say in public—in other words, to not say why they

really wanted Intervenors’ information. ACCC ¶¶88, 90. While “Defendants are rarely courteous

enough to admit in some documented form that an asserted rationale … is really a pretext,” Burns

v. Tex. City Ref., Inc., 890 F.2d 747, 751 (5th Cir. 1989), Chairman Neal did that here.

       Even considering the Committee’s request in a vacuum, Intervenors have plausibly alleged

an improper purpose. A committee that was genuinely interested in the presidential audit process

would want audit files for several Presidents: It would at least want the current President’s files

(to see the most up-to-date procedures), files from a good sample of other Presidents (to determine




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baselines and trends), and more than just President Trump’s admittedly unusual files (to ensure its

legislation makes sense for a wide range of future Presidents). ACCC ¶¶277, 221. Yet the Com-

mittee requested only one President’s information. Its gross “underinclusiveness diminishes the

credibility of [its] rationale.” Republican Party of Minn. v. White, 536 U.S. 765, 780 (2002)

(cleaned up). That President Trump presents supposedly unique circumstances is more reason to

cast a broad net, not less. And it’s not remotely accurate: Others who were subject to the mandatory

audit process had complex finances, noncomplete divestment, allegedly aggressive tax strategies,

and a critical stance toward the IRS and voluntary disclosures. ACCC ¶¶259-61, 278-81. In all

events, the Committee’s long list of things that supposedly make President Trump an indispensable

case study is itself evidence of an impermissible purpose, as it’s apparently gerrymandered to cover

President Trump and no one else. Cf. Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,

508 U.S. 520, 535 (1993).

        The Committee’s reasoning also lacks internal logic. It has a list of questions that it sup-

posedly wants answered about how the IRS’s mandatory audit process works. See Cmte.-MTD 39-

40. But the only way to get those questions answered is to ask the IRS. ACCC ¶¶285. If a review

of one former President’s files revealed the IRS’s policies at all, it would do so by happenstance

and only anecdotally. Yet the Committee showed no real interest in Treasury’s offers to answer its

questions about the mandatory audit process. ¶286. The Committee’s stated concern, moreover, is

that Presidents might interfere with these audits and prevent the IRS from doing them accurately.

But the Committee’s request is not limited to closed audit files. While open audit files might reveal

information about the taxpayer, cf. Gov’t-MTD 27-28, they cannot reveal information about the

fairness of the audit, since the audit isn’t over yet. ACCC ¶288. And the Committee’s request for

open audit files is itself a form of interference that corrupts the data and makes its study impossible.




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¶288. While the Committee won’t appreciate being told how to legislate, its nonsensical and self-

defeating actions reveal that legislating is not what it’s after.

        The Committee discounts some of Intervenors’ allegations by insisting that only Chairman

Neal’s statements count, since only he is empowered to make §6103(f)(1) requests—an odd asser-

tion since it was the Committee, not Chairman Neal, who filed this suit alleging injuries to itself.

But even if the Committee were right, Intervenors’ allegations about Chairman Neal alone cross

the plausibility threshold. He issued the formal request, which reveals improper purposes on its

face. He’s the one who admitted that the Committee’s rationale was pretextual, a “case” con-

structed by lawyers to hold up in court because the real purpose wouldn’t. ¶¶86-94, 126-31. Chair-

man Neal also made many statements during the 115th Congress, when he could speak “more

candidly,” about his purpose of publicly exposing President Trump’s tax returns. ¶22. He issued

similar statements as Chairman, once it became clear that this case would not be decided by the

November 2020 election. ¶¶143-45. He also authored several reports and cosponsored several res-

olutions about exposing President Trump’s tax information to the public. ¶¶23, 25, 28-29, 37-41.

        In all events, the Committee is incorrect: This Court is not limited to Chairman Neal’s

statements, given Intervenors’ other plausible allegations. Intervenors explained how Committee

Democrats worked as a unit in the 115th Congress to pursue President Trump’s tax returns. ¶31.

They similarly worked together in the 116th Congress. ¶113. When Committee Democrats spoke

about the purposes behind Chairman Neal’s request, they were speaking from first-hand

knowledge because they were parties to, and had input on, the request. E.g., ¶¶80, 86, 94, 113.

Speaker Pelosi’s statements are also relevant because she was consulted on, and had to approve,

Chairman Neal’s request. ¶¶74-75, 113, 122, 203, 78-79, 81, 96, 235. Other members of the House

Democratic leadership were likewise consulted. ¶¶113, 203, 34-35, 23. Further, Intervenors cite




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the 2016 campaign and the broader sentiment of the Democratic party to show how the exposure

of President Trump’s tax information—for its own sake—became a major priority for parts of the

Democratic base. ¶¶9-19, 83-85 The base and other members, in turn, constantly pressured Chair-

man Neal and others to obtain and release President Trump’s tax returns once they gained power.

¶¶84-85, 121. As the Government well knows, this “‘history’” and “‘pressure’” plausibly suggest

that the Committee’s request had an impermissible purpose. United States v. City of New Orleans,

2012 WL 6085081, at *9 (E.D. La. Dec. 6).

       Lastly, the Government and the Committee criticize the voluminous statements that Inter-

venors have collected as “cherry-picked,” “paraphrased,” “decontextualiz[ed],” and “distort[ed].”

Gov’t-MTD 19; Cmte.-MTD 24. Usually when someone makes that charge, they provide the miss-

ing context or quote the statements going the other way. But the Committee and the Government

don’t—because they can’t. The statements are voluminous, openly confess non-legislative goals,

and cannot even be spun as legislative. Equally telling, Chairman Neal’s audit rationale was never

mentioned until Chairman Neal announced it. Perhaps the Committee and the Government will be

able to weave together a “benign” interpretation of this web of incriminating, contradictory state-

ments; but that “is a matter not amenable to resolution on the pleadings.” Faith Action, 2014 WL

1691622, at *14; accord PharmacyChecker.com, LLC v. Nat’l Ass’n of Bds. of Pharmacy, 2021

WL 1199363, at *10 n.10 (S.D.N.Y. Mar. 30) (rejecting the defendants’ contrary “framing” of

their conduct “[a]t the motion to dismiss stage” because the plaintiff “alleges [it] is ‘pretextual’”).

               ii.     The request’s purpose is law enforcement. (II)
       If exposure was the Committee’s primary purpose, then law enforcement was secondary.

Both purposes are non-legislative and, thus, impermissible. As the Supreme Court stressed in

Mazars, Congress cannot request information “for the purpose of ‘law enforcement.’” Mazars III,

140 S. Ct. at 2032. The question, again, is purpose. Congress can violate this separation-of-powers


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principle without “‘try[ing] someone before a committee for [a] crime or wrongdoing.’” Cf. Cmte.-

MTD 27. A committee also cannot use the investigation itself as a means “to ‘punish’ those inves-

tigated.” Mazars III, 140 S. Ct. at 2032 (quoting Watkins, 354 U.S. at 187). And “[l]acking the

judicial power given to the Judiciary” or the executive power given to “the Executive,” Congress

simply “cannot inquire into matters which are within the exclusive province of one of the other

branches”—or otherwise “trench upon Executive or judicial prerogatives.” Barenblatt, 360 U.S.

at 111-12; accord McSurely v. McClellan, 521 F.2d 1024, 1038 (D.C. Cir. 1975).

       Of course, congressional investigations must be evaluated ex ante, so an otherwise “legit-

imate legislative investigation need not grind to a halt whenever … crime or wrongdoing is dis-

closed.” Hutcheson v. United States, 369 U.S. 599, 618 (1962). But a legislative investigation is

not “legitimate” in the first place if its primary purpose is law enforcement. See Watkins, 354 U.S.

at 187; Cross, 170 F. Supp. at 309. And Congress cannot rescue a law-enforcement investigation

by arguing, in circular fashion, that it will use whatever violations it finds to reform the underlying

laws. See Shelton, 404 F.2d at 1297 (explaining that Congress must provide “references to specific

problems” it would fix with legislation, not vaguely assert “a need to consider ‘remedial legisla-

tion’”); Icardi, 140 F. Supp. at 387-88 (holding that subcommittee could not “cure the invalidity”

of its law-enforcement investigation by tacking on a professed interest in investigating “‘whether

the Federal statutes were inadequate in any respect or had been improperly administered’”).

       The Court should be especially suspicious of an impermissible purpose here. The Commit-

tee cites the D.C. Circuit’s statement in Mazars II that “‘an interest in past illegality can be wholly

consistent with an intent to enact remedial legislation.’” Cmte.-MTD 25-26 (quoting Mazars II,

940 F.3d at 728). The D.C. Circuit found it “not at all suspicious” that the committee there was

focusing on “the sitting President’s” finances. Mazars II, 940 F.3d at 729. But the Supreme Court




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disagreed. It said that, by requesting the personal finances of a President, the subpoena did “not

represent a run-of-the-mill legislative effort” and had a “less evident connection to a legislative

task.” Mazars III, 140 S. Ct. at 2034-35. The Court would not overlook the fact that President

Trump’s finances were “records of intense political interest.” Id. at 2034. It did not cite this “po-

litical” backdrop as an inevitable or uneventful reality of congressional investigations. Contra

Cmte.-MTD 27. It cited it as a reason why the subpoena posed “a heightened risk of … impermis-

sible purposes.” Mazars III, 140 S. Ct. at 2034-35.

       That risk, as Intervenors plausibly allege, has fully materialized here. Over and over, Com-

mittee members confessed that they wanted to see Intervenors’ tax information to determine

whether President Trump committed fraud, illegally underpaid taxes, or committed other financial

crimes. E.g., ACCC ¶¶42, 46, 59, 99-102, 106-08, 147, 153-54, 177, 181, 240, 272. Most of these

statements were not even plausibly legislative because the “crimes” that the members referred to

would have been violations of state and local law, not something within the Committee’s jurisdic-

tion. E.g., ¶¶212, 101-02. The aim, as Speaker Pelosi put it, was to “see him in prison.” ACCC

¶144. And this would not be the first time that a House committee “has explicitly and consistently

avowed the purpose of investigating alleged illegal activities of [this] President” through an osten-

sibly legislative request. Mazars II, 940 F.3d at 770 (Rao, J., dissenting).

       The request’s law-enforcement bent is evident from the face of the request. It has the hall-

marks of executive or judicial power, rather than legislation: The request is laser-focused on the

businesses and finances of one person. Kilbourn, 103 U.S. at 195; Icardi, 140 F. Supp. at 387. And

for that one person, the request is an “indiscriminate dragnet” that seeks large swaths of his private

information. Wilkinson v. United States, 365 U.S. 399, 412 (1961). It seeks a “precise reconstruc-

tion of past events” rather than the policy judgments that accompany legislating. Senate Select,




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498 F.2d at 732; accord Hutcheson, 369 U.S. at 617 (explaining that a congressional investigation

would not be legislative if it tried to determine “whether petitioner had in fact defrauded the State

of Indiana”).

        Apart from proving supposedly illegal conduct in the past, the Committee admits that its

request is aimed at double-checking “the President’s tax compliance.” Doc. 133-3 at 3. It needs

Intervenor’s actual tax returns and audit files so it can conduct its own audit. See, e.g., ACCC ¶¶52,

77 (promising that the Committee will “put a staff of CPAs to work looking and digging into

[Intervenors’] returns”). The Committee is worried that the IRS was insufficiently “thorough” with

President Trump, given his office and his past criticisms of the agency, and it wants to look into

his supposedly “aggressive tax positions.” Doc. 133-3 at 2-7. But investigating, examining, and

adjudicating tax compliance are powers that belong to the executive branch, not Congress. And

the Committee cannot justify its desire to play junior IRS with “the mere assertion of a need to

consider ‘remedial legislation’” if it turns out that the IRS missed something. Shelton, 404 F.2d at

1297. Legislation cannot be the gravamen here given the nature of these documents, see Mazars

III, 140 S. Ct. at 2034-35, and the obvious pretext explained above.

        C.      The request is not pertinent to constitutional legislation within the Commit-
                tee’s jurisdiction. (III)
        Even if the Committee were pursuing legislation, its request fails the governing standard

for another reason: The request seeks information that is either not pertinent to valid legislation or

that is pertinent to invalid legislation.

        Congressional requests must be “‘related to, and in furtherance of,’” legislation. Id. at 2031.

This “pertinency” requirement is “jurisdictional” for committees. Watkins, 354 U.S. at 206. It

means that the requests must be “reasonably relevant” to the Committee’s legislative aims. Mazars

II, 940 F.3d at 740. If a committee could “subpoena information irrelevant to its legislative



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purpose, then the Constitution would in practice impose no real limit on congressional investiga-

tions.” Id. at 739-40. And because the power to investigate can be “justified solely as an adjunct

to the legislative process,” Watkins, 354 U.S. at 197, committees can only investigate legislation

within their jurisdiction. Courts “narrowly” “construe” a committee’s jurisdiction to “obviate the

necessity of passing” on “serious constitutional questions.” Tobin v. United States, 306 F.2d 270,

275-76 (D.C. Cir. 1962); accord Exxon Corp. v. FTC, 589 F.2d 582, 592 (D.C. Cir. 1978).

       Establishing pertinency is not enough. Subpoenas “must concern a subject on which legis-

lation could be had”—meaning legislation that would be constitutional. Mazars III, 140 S. Ct. at

2031 (cleaned up). Courts must “consider whether Congress could constitutionally enact” the stat-

utes it claims to be considering, Mazars II, 940 F.3d at 732, because Congress’s power to investi-

gate comes from its power to legislate—a power that is itself “defined, and limited.” Marbury, 5

U.S. at 176.

       In terms of pertinency, the Committee’s request falls short. Intervenors plausibly allege

that their tax information will not reveal relevant information concerning emoluments or conflicts

of interest. Supra II.A.iii. The Committee said so in the 115th Congress, and both Commissioner

Rettig and former Commissioner agree. ACCC ¶¶27, 284. Not only are these the kinds of people

who would know, but their conclusions make sense. Tax returns require broad disclosures about

sources of income. They do not concern themselves with identifying or unraveling complex busi-

ness relationships, or do the kind of transaction-by-transaction breakdown that would be needed

to determine whether something truly is an “emolument.” And besides, the Committee’s requests

do not ask about “emoluments” or limit themselves to the parts of the tax returns and files that the

Committee thinks has the business-revealing information.




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       The presidential-audit rationale suffers from the same flaws. As explained, supra II.A.iii,

Intervenors’ specific tax information will not tell the Committee what the IRS’s policies are. Even

if it were reasonable for the Committee to learn the IRS’s policies indirectly by looking at audit

files (instead of asking the IRS directly), the tax returns have no reasonable relevance to that goal.

They simply contain Intervenors’ raw financial information. Worst of all, the Committee’s request

targets open audit files, which by definition cannot tell the Committee how the IRS audited (past

tense) anyone. Supra II.A.iii.

       The Committee’s request is only possibly pertinent, moreover, to laws that would regulate

Presidents. As the D.C. Circuit explained in Mazars II, requests for the financial information of a

President “would produce no relevant information about laws that apply to ordinary Executive

Branch employees” or laws that apply to the general public. Mazars II, 940 F.3d at 733. The Com-

mittee and the Government seem to agree, as they mostly focus on presidential financial-disclo-

sures laws, presidential conflict-of-interest laws, and presidential audits. They do not argue that

President Trump’s tax information would help the Committee pass generic legislation—for exam-

ple, increasing the IRS’s budget by $10 million. That focus helps the Committee on pertinency,

but it hurts the Committee on validity because laws that directly regulate the Presidency “rais[e]

sensitive constitutional issues.” Mazars III, 140 S. Ct. at 2036.

       More than raise them, the laws the Committee claims to be considering would be uncon-

stitutional. Intervenors have already explained why presidential conflict-of-interest laws are un-

constitutional. Supra II.A.iii. But presidential financial-disclosure laws suffer the same flaws. Un-

like other executive agencies and offices created by Congress, the Presidency is “created by the

Constitution.” Gordon v. United States, 117 U.S. 697, 699 (1864). Because the President is “one

of the three great” branches and “independent” of the other two, id., Congress cannot coerce him




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to make disclosures against his will. See Kendall v. U.S. ex rel. Stokes, 37 U.S. 524, 610 (1838).

The President is like the Supreme Court in this way, id., and the Chief Justice has flagged Con-

gress’s power to impose financial-disclosure requirements as a serious constitutional question. See

2011 Year-End Report on the Federal Judiciary 3-4, 6, bit.ly/2Ku5ZvM. This formal view of the

separation of powers is not “‘archaic.’” Mazars II, 940 F.3d at 736. It is the law. Compare id. at

733-34 (calling for a “‘pragmatic, flexible approach” to the separation of powers), with Seila Law,

140 S. Ct. at 2207 (rejecting calls for a “pragmatic, flexible approach” because our system of

separated powers was “not chosen” for its “flexibility”).

       Beyond the separation of powers, presidential-disclosure laws would violate the Qualifica-

tions Clause. Congress cannot amend or add to the constitutional qualifications for President. See

Term Limits, 514 U.S. at 827; id. at 861-62 (Thomas, J., dissenting). But presidential-disclosure

laws with enforcement mechanisms would do just that. Although anyone who makes the required

disclosure can still be President, Mazars II, 940 F.3d at 736, the Qualifications Clause does not

turn on whether a requirement imposes a prior restraint. Constitutional rules “would be of little

value if they could be indirectly denied.” Term Limits, 514 U.S. at 829 (cleaned up). That’s why

the Constitution outlaws not only absolute bars, but also requirements with “the likely effect of

handicapping a class of candidates.” Id. at 836; see Griffin, 408 F. Supp. 3d at 1179; Campbell v.

Davidson, 233 F.3d 1229, 1236 (10th Cir. 2000); Schaefer v. Townsend, 215 F.3d 1031, 1039 (9th

Cir. 2000). Indeed, California tried to force President Trump to disclose his tax returns as a condi-

tion of appearing on the ballot for President, and a federal court rightly deemed that law an imper-

missible qualification. See Griffin, 408 F. Supp. 3d at 1179.2000).

       Even more clearly unconstitutional would be a congressional statute that ordered the IRS

to audit a sitting President (or that insulated an IRS agent from the President’s control). The IRS’s




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presidential audit process is currently governed by Treasury regulations, see IRM §3.28.3 (2020),

for good reason. That way, control over the executive function of enforcing the tax laws stays

within the executive branch and under its head, the President. Congress has no authority to wrest

that power away from the President and, contrary to his wishes, order an organ of the executive

branch to apply the executive power against its head. See Seila Law, 140 S. Ct. at 2191 (“Under

our Constitution, the ‘executive Power’—all of it—is ‘vested in a President,’ who must ‘take Care

that the Laws be faithfully executed.’”).

       Congress also lacks authority to usurp the President’s directive control of the executive

branch by mandating specific investigations of specific officers by subordinate executive officers.

The Constitution vests the President with “abundant supervisory and disciplinary powers” over the

executive branch, Newman v. United States, 382 F.2d 479, 482 (D.C. Cir. 1967), which includes

the undivided “power to decide when to investigate, and when to prosecute,” Cmty. for Creative

Non-Violence v. Pierce, 786 F.2d 1199, 1201 (D.C. Cir. 1986). Congress cannot circumvent this

“carefully calibrated system” designed to preserve “‘the chain of dependence’” between the people

and the government by vesting all exercise of the executive power under the “ongoing supervision

and control of the elected President.” Seila Law, 140 S. Ct. at 2203. But the Committee’s contem-

plated legislation would do that by removing the “IRS’s conduct of audits” from the President’s

control. Doc. 133 at 29. The administration of audits, including the “power to decide when to

investigate ... lies at the core of the Executive’s duty to see to the faithful execution of the laws.”

Cmty. for Creative Non-Violence, 786 F.2d at 1201; see also Smith v. United States, 375 F.2d 243,

248 (5th Cir. 1967) (“decisions … made during the investigation ... of offenses” are part of core




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executive powers). The President, not Congress, controls the scope and frequency of the core ex-

ecutive power of investigation.7

       The Committee also fundamentally misunderstands the restrictions on legislative power

when they assert that legislation regarding the “IRS’s audit of Presidents’ tax returns would relate

to the Executive Branch’s administration of laws [] that apply equally to all taxpayers ... not laws

that apply to Presidents as constitutional officers.” As an initial matter, this attempt to distinguish

the man from the office has frequently been rejected. Mazars III, 140 S. Ct. at 2034; see also

Mazars II, 940 F.3d at 725-26 (Rao, J., dissenting) (“[T]he constitutional authority assigned to the

Office of the President can be exercised only by the flesh-and-blood human occupying that office,

so as a practical matter, a restriction on the person might constrain the branch of government.”);

In re Lindsey, 158 F.3d 1263, 1286 (D.C. Cir. 1998) (Tatel, J., concurring in part and dissenting

in part) (same). And separately, Congress cannot single out any individual—Presidents included—

for investigation or prosecution through use of its legislative powers. See, e.g., United States v.

Brown, 381 U.S. 437, 442 (1965) (“[T]he Bill of Attainder Clause was intended not as a narrow,

technical ... prohibition, but rather as an implementation of the separation of powers, a general

safeguard against legislative exercise of the judicial function, or more simply—trial by legisla-

ture.”); see also 8 Op. O.L.C. 101, 115 (1984) (Congress may not direct the executive branch to

target “particular individuals”).

       The Government’s citation to Heckler v. Chaney misses the point. See Gov’t-MTD 26.

Congress can of course “limit an agency’s exercise of enforcement power” as a general matter.


       7
         These requirements of Presidential control apply equally to criminal and administrative
enforcement. See, e.g., In re Aiken Cty., 725 F.3d 255, 264 n.9 (D.C. Cir. 2013) (Kavanaugh, J.)
(“Because they are to some extent analogous to criminal prosecution decisions and stem from
similar Article II roots, such civil enforcement decisions brought by the Federal Government are
presumptively an exclusive Executive power.”).


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470 U.S. 821, 833 (1985). But it cannot require enforcement against the President. Obviously

Heckler does not say otherwise: It interprets the Administrative Procedure Act, not the Constitu-

tion’s separation of powers. Its holding on the power of Congress to “circumscribe[e] an agency’s

power” does not reach this weighty constitutional issue. Nor does Heckler insinuate that Congress

could constitutionally target a particular individual for investigation. No statute can require law-

enforcement or disclosure actions insulated from presidential control and targeted at the President

himself, and Congress cannot circumvent this fundamental separation-of-powers constraint by dis-

guising one as ordinary regulation of an agency’s enforcement priorities.

III.   Intervenors plausibly allege that the request violates other constitutional rights.
       As the parties seem to concede, the Committee’s request is “functionally” a request to In-

tervenors, not Treasury. Vance, 140 S. Ct. at 2425 n.5 ; accord Mazars III, 140 S. Ct. at 2035

(refusing to treat “congressional demands” for information that the plaintiffs “entrusted to a third

party” as demands to the third party, rather than the plaintiffs). The Committee’s “investigation”

thus cannot violate Intervenors’ “constitutional rights.” Mazars III, 140 S. Ct. at 2032 (citing Wat-

kins, 354 U.S. at 188, 198). Yet Intervenors plausibly allege that it does: It violates the First

Amendment by discriminating and retaliating against Intervenors, the separation of powers by in-

terfering with the executive branch, and due process by interfering with an audit.

       A.      The request violates the First Amendment. (VI)
       “[T]he provisions of the First Amendment … of course reach and limit congressional in-

vestigations.” Barenblatt, 360 U.S. at 126. Intervenors have stated a plausible claim for First

Amendment discrimination and retaliation against the Government defendants. As they allege,

following the election of President Biden—President Trump’s opponent in the 2020 election and

his chief political rival today—the Government agreed to comply with the Committee’s request

on flimsy legal grounds, without disputing its prior factual determination about the request’s true



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purpose. ACCC ¶¶219-25; 331-37. Intervenors also allege numerous statements by the head of the

executive branch, as well as his allies in and out of Congress, supporting an inference that improper

political motives underlay the Government’s decision. ¶¶244-52, 266-68. These and Intervenors’

other allegations are more than sufficient at the pleading stage.

       The Government moves to dismiss on four grounds. It disputes Intervenors’ allegations

concerning causation, quibbles with Intervenors’ allegations concerning motive, tries to invoke the

Speech or Debate Clause, and accuses Intervenors of not alleging retaliation with specificity. These

arguments all fail.

       First, Intervenors adequately pleaded causation. The First Amendment prohibits the gov-

ernment from discriminating, harassing, or retaliating on the basis of political party, association,

or speech. Rutan v. Republican Party of Ill., 497 U.S. 62, 75 (1990); Lozman v. City of Riviera

Beach, 138 S.Ct. 1945, 1949 (2018). The government violates the First Amendment when the

target’s speech or politics motivated its actions “at least in part.” Cruise-Gulyas v. Minard, 918

F.3d 494, 497 (6th Cir. 2019). Even when the government could legitimately act “for any number

of reasons, there are some reasons upon which the government may not rely”—including “consti-

tutionally protected speech or associations.” Perry v. Sindermann, 408 U.S. 593, 597 (1972).

       A plaintiff in a First Amendment retaliation case must allege and prove: “(1) that he en-

gaged in protected conduct, (2) that the government ‘took some retaliatory action sufficient to

deter a person of ordinary firmness in plaintiff's position from speaking again;’ and (3) that there

exists ‘a causal link between the exercise of a constitutional right and the adverse action taken

against him.’” Doe v. D.C., 796 F.3d 96, 106 (D.C. Cir. 2015). To plead causation, “‘a plaintiff

must allege that his or her constitutional speech was the ‘but for’ cause of the defendants’ retalia-

tory action.” Id. This inquiry asks about the defendants’ “subjectiv[e]” motive. Smith v. Mosley,




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532 F.3d 1270, 1278 (11th Cir. 2008); see Doe v. D.C., 796 F.3d at 1278 (“the First Amendment

retaliation inquiry is a subjective one”). Because causation is subjective, the burden of alleging it

is not heavy. Indeed, causation may be “inferred—especially at the pleading stage.” Smith v. De

Novo Legal, LLC, 905 F. Supp. 2d 99, 104 (D.D.C. 2012). “[T]he D.C. Circuit ‘has held that a

close temporal relationship may alone establish the required causal connection.’” BEG Invest-

ments, LLC v. Alberti, 144 F. Supp. 3d 16, 22 (D.D.C. 2015) (citing Singletary v. D.C., 351 F.3d

519, 525 (D.C. Cir. 2005)).

       Here, Intervenors have alleged causation sufficiently. There was temporal proximity be-

tween the protected conduct—President Trump’s campaign for office and related statements—and

the Government’s reversal of position shortly after President Biden took office. AAAC ¶¶238-243,

247-251, 264. There is “no ‘hard-and-fast rule’ regarding the temporal proximity that must exist

between protected activity and the adverse action.’” Manuel v. Potter, 685 F. Supp. 2d 46, 68

(D.D.C. 2010); see also BEG Investments, 144 F. Supp. 3d at 22 (collecting cases). That the Gov-

ernment switched positions shortly after President Biden took office, and thus gained the power to

disclose Intervenors’ information under §6103, is sufficient to raise a plausible inference. So is the

request’s gerrymandered focus on only one President, and the fact that the Government reversed

position in this very case following consultations with the Committee and other political allies, as

well as public pressure. ¶¶245-253, 264-68. This reversal and pressure also create an “inference”

that the Government’s actions were motivated by a desire to politically harm President Trump.

Smith, 905 F. Supp. 2d at 104.

       The Government’s only argument on causation is a naked assertion that its decision was

based entirely upon “the inflexible statutory command of section 6103(f)(1).” Gov’t-MTD 43. But

this is the pleading stage. The Court cannot just simply accept the assertion that the Government




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acted under statutory compulsion—especially when the Government rejected that interpretation of

the statute for years prior to its decision. See Kohutka v. Town of Hempstead, 2012 WL 13109880,

at *8 (E.D.N.Y. Mar. 20) (“Defendants cannot prevail at the motion to dismiss stage by merely

alluding to possible non-retaliatory reasons for their conduct, which may ultimately be shown to

be pretext.”); Aref v. Holder, 953 F. Supp. 2d 133, 146 (D.D.C. 2013) (“At the motion to dismiss

stage, the Court must accept, so long as it is plausible, [the plaintiff’s] claim that the [defendant’s

proffered] reasons … were pretextual and that” the real reason was “retaliation for his … political

speech.”).

       It’s telling that the Government’s cases on this point were all decided on summary judg-

ment, after discovery. See Hartman v. Moore, 547 U.S. 250, 255 (2006); Doe v. D.C., 796 F.3d at

100.8 Hartman, in particular, addressed the fact that a malicious-prosecution plaintiff must “plea[d]

and prov[e]” probably cause. Id. at 265-66. No such requirement applies here. The other case,

Daugherty v. Sheer, 891 F.3d 386 (D.C. Cir. 2018), is inapt. Unlike there, Intervenors do not rely

on statements indicating animus that post-date the wrongful action. And Intervenors have relied

on specific facts—numerous statements, the timing of the actions, and the change in political con-

trol of the executive branch—rather than a single “conclusory allegation” of causation. Id. at 392.

       Second, Intervenors’ allegations of improper motives are not speculative. The Government

contends they are “based on nothing more than the party affiliation of the current Administration.”

Gov’t-MTD 43-44. But this grossly mischaracterizes Intervenors’ allegations, all of which must

be “taken as true.” Ashcroft v. Iqbal, 556 U.S. 662, 666 (2009), and viewed “in the light most

favorable” to Intervenors, Ruiz, 466 F. Supp. 3d at 168-69. Rather than party affiliation alone,




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Intervenors allege a number of specific facts that plausibly suggest an improper political motive

by the Government defendants:

       •   Numerous statements that President Biden made before, during, and after his campaign
           about President Trump, including that “the American people deserve to know what he’s
           hiding in his tax returns” and that he needed to “release his tax returns.” ACCC ¶¶15,
           227-32, 244.9

       •   Assurances in the press from the Speaker and Committee members that, once President
           Biden got in office, Defendant Yellen would change positions and give the Committee
           the tax returns that they had long sought. ¶¶236, 247.

       •   Pressure campaigns from aligned interest groups and others to convince the Govern-
           ment defendants to change positions and produce the returns. ¶¶245-46.

       •   The fact that President Trump remains the leader of the opposition party and a political
           threat to President Biden. ¶¶234-44.

       •   Close communications—many of which have yet to be produced—between the House,
           the Government defendants, and their attorneys in the run-up to the Government’s
           change of position. ¶¶250-53, 264-68.

       The Government is thus wrong to claim that Intervenors “have offered no basis on which

to plausibly infer a retaliatory or discriminatory motive on Defendants’ part.” Gov’t-MTD 44. To

the contrary, they have offered a litany of statements, actions, and other allegations that are more

than sufficient to “nudge” their retaliation claim “across the line from the conceivable to plausi-

ble,” Iqbal, 556 U.S. at 683. Unlike the plaintiff in Iqbal, Intervenors have provided dozens of

factual allegations “sufficient to plausibly suggest” the Government defendants’ retaliatory “state

of mind.” Id. And although the Government is entitled to rebut these inferences with evidence at




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          The Government tries to minimize these statements in a footnote, Gov’t-MTD 44 n.16,
both underplaying their frequency and quibbling that they were not “a major campaign issue”—
despite the fact that President Biden raised the issue in the highly promoted and time-limited Pres-
idential debates. In any event, the Government cannot debate the facts on a motion to dismiss; it
can make its record-based arguments at summary judgment.


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summary judgment or trial, this Court cannot simply assume—at the pleading stage—that the Gov-

ernment will do so and grant it judgment now. See Banneker Ventures, 798 F.3d at 1129.

       Third, the Speech or Debate Clause does not shield the executive branch from liability.

Relying on the long line of cases delineating the boundaries of the Speech or Debate Clause, the

Government contends that the Court “may not take issue with a committee inquiry based on the

alleged motives of individual members, even when those motives are said to offend the First

Amendment.” Gov’t-MTD 45. But this argument ignores that Intervenors brought their First

Amendment claim only against the Government defendants, who are members of the executive

branch. Intervenors are entitled to allege (and receive discovery about) the retaliatory motives of

those defendants. Nothing in the Speech or Debate Clause limits the kind of allegations they can

make against non-congressional defendants.

       As a threshold matter, the Government cannot contend that the Speech or Debate Clause

prohibits liability for non-legislators who act appurtenant to some protected legislative activity.

More than a century ago, the Supreme Court held that the Sergeant-of-Arms, who executed an

illegal arrest ordered by the House, could not rely upon the Speech or Debate Clause as a defense.

Kilbourn, 103 U.S. at 205. In doing so, the Court noted that however broad the Clause was in

protecting legislators, it did not extend to others who act outside a legislative function. Thus, if

legislators’ “calumnious or inflammatory speeches should be reported and published, the law will

attach responsibility on the publisher.” Id. 202. And “if the speaker by authority of the House order

an illegal act, though that authority shall exempt him from question, his order shall no more justify

the person who executed it than King Charles's warrant for levying ship-money could justify his

revenue officer.” Id. (citing Stockdale v. Hansard (9 Ad. & E. 1)).




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       Eastland v. U.S. Servicemen’s Fund does not hold otherwise. That case involved a direct

challenge to a committee subpoena, not the motives underlying decisions by the executive branch.

Eastland itself notes that broader protection is warranted when the Speech or Debate Clause is

raised “by Congress.” 421 U.S. 491, 509 n.16 (1975). Indeed, once Congress involves the other

branches in carrying out or enforcing its objectives, the panoply of constitutional protections, in-

cluding the “First Amendment freedoms” of “speech,” “political belief,” and “association,” apply.

Watkins, 354 U.S. at 188; see also Eastland, 421 U.S. at 509 n.16 (noting that when “Congress

was seeking the aid of the Judiciary to enforce its will” courts “properly scrutinize[] the predicates

of criminal prosecution” (citing Watkins, 354 U.S. at 216)).10).

       Here, Intervenors’ First Amendment claim requires the Court to inquire into the retaliatory

motives of the Government defendants, who are all executive branch officials. It will not require

inquiry into the secret motives of the Committee members themselves. Discovery will properly

focus on the executive officials and the process they followed in reversing positions to determine

whether they acted in good faith (as the Government contends) or out of retaliation against a po-

litical opponent (as Intervenors have sufficiently alleged).

       In conducting that inquiry, however, Intervenors are allowed to explore the effect of vari-

ous statements that Committee members made in the press or to the executive branch. See AAAC

¶¶236, 247, 250-53, 264-68, 335. Members’ statements to the press and to the executive branch

fall outside the scope of the Speech or Debate Clause. Hutchinson, 443 U.S. at 133; Gravel, 408

U.S. at 625-627. Indeed, the most recent OLC opinion acknowledges that, in assessing the



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           Unlike claims that arise under the legitimate-legislative-purpose requirement, First
Amendment claims do turn on motive, rather than purpose. That’s why Intervenors brought a First
Amendment claim against only the Government defendants. But as Eastland makes clear, Inter-
venors’ claims against the Committee are perfectly legitimate because they challenge “whether a
legitimate legislative purpose is present.” 421 U.S. at 501 n.14.

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legislative purpose of a congressional request, the executive branch need not accept justifications

that “blin[k] reality.” 2021 OLC 26.

       On this point, Judge Bates’ decision in Jewish War Veterans is instructive. There, as here,

the plaintiffs sued an executive official alleging that his enforcement of a congressional act vio-

lated the First Amendment (specifically, the Establishment Clause). 506 F. Supp. 2d at 33-34. In

discovery, the plaintiffs sought a variety of documents from members of Congress that were rele-

vant to proving the anti-establishment claim. Id. at 37. The documents included those “concerning

or relating to” the Members’ “contacts, communications, discussions, or interactions with any

news organization or reporter,” as well as “with persons in the Executive Branch” regarding the

administration or implementation “of the challenged legislative act.” Id. Although the Members

objected to other discovery requests on Speech or Debate grounds, they conceded that these cate-

gories were permissible. The Members did “not raise the Clause as a bar to producing documents

responsive to” those requests, id. at 53, no doubt recognizing that some activities are “political in

nature rather than legislative” and “thus are beyond the coverage of the Speech and Debate

Clause.” Id. 53-54 (quoting United States v, Brewster, 408 U.S. 502, 512 (1972)). The discoverable

documents included). These include statements in “newsletters and press releases,” contacts with

“an executive agency in order to influence its conduct,” and “attempt[s] to influence the Depart-

ment of Justice.” Id. at 54 (collecting cases). As a result, Judge Bates concluded that these and

other “[d]ocuments that reflect a Member’s efforts to use existing statutory authority” must be

produced. Id. at 54-55.

       If the Speech or Debate Clause does not prohibit discovery of Members’ statements to the

press or their attempts to influence executive action, then the Clause certainly doesn’t prohibit

consideration of this evidence in evaluating the plausibility of Intervenors’ claim. And as this case




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progresses, Intervenors will be entitled to discovery of those types of documents. OLC’s recent

memo confirms that these documents exist, but the other parties have not yet disclosed them to the

public or Intervenors. See ACCC ¶268.11

        Even if the Court were barred from considering the non-legislative statements of Members

to determine the motives of the executive branch, Intervenors still state a claim. Their pleading

identifies a number of statements and other evidence of political motive on behalf of the executive

branch itself, ACCC ¶¶15, 227-232, 244; non-congressional allies ¶¶245-46; and of course the

temporal circumstances of its complete reversal of position, ¶¶250-53, 264-68. That’s sufficient

for notice pleading. Cf. Rice v. Reading for Educ., LLC, 2019 WL 4933420, at *3 (E.D. Wis. Oct.

7) (“[A]t the pleading stage, [the court] must accept [the plaintiff’s] allegation of intent as true.”).

        Fourth, the Government’s final argument—that Intervenors have not plausibly alleged a

retaliatory motive—need not delay the Court long. There is no merit to the suggestion that Inter-

venors, in their 200+ paragraphs of factual allegations about the Democratic Party’s years-long

campaign to expose President Trump’s tax records for political gain, have failed to identify pre-

cisely “which of former President Trump’s policy positions, political beliefs, or protected state-

ments supposedly provoked the Committee’s ire.” Gov’t-MTD 48. It is beyond serious dispute

that the executive branch, Committee Democrats, and the Democratic Party writ large oppose just

about every policy and position taken by President Trump. “Fair notice” simply does not require

anything near the level of specificity the Government contends is necessary here. See Fed. R. Civ.

P. 9(b) (noting that “conditions of a person’s mind may be alleged generally”); Gagliardi v. Village


        11
          Intervenors recognize that there are limits on discovery, as Judge Bates explained. See
506 F. Supp. 2d at 55-60. But this Court need not settle the scope of permissible discovery in
deciding the motions to dismiss. It is sufficient to note that some discovery on the First Amendment
claims will likely be permissible, and may further bolster the Intervenors’ allegations that the Gov-
ernment’s reversal was motivated by President Trump’s political affiliation and statements.


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of Pawling, 18 F.3d 188, 195 (2d Cir. 1994) (“it is sufficient to allege facts from which a retaliatory

intent on the part of the defendants reasonably may be inferred”); Ervin and Assocs., Inc. v. Dun-

lap, 33 F. Supp. 2d 1, 7 (D.D.C. 1997) (citing Gagliardi and rejecting government’s “demand”

that a retaliation claim “meet a pleading standard that is higher than required at the motion to

dismiss”).

       The Government makes up no ground by contending that the litany of improper purposes

identified by Committee Democrats over the years somehow defeat the retaliation claim. To begin,

Rule 8 permits pleading in the alternative, even if the claims are inconsistent, Fed. R. Civ. P.

8(d)(2)(3). This includes alternative motives in retaliation cases. See, e.g., Babych v. Psychiatric

Solutions, Inc., 2010 WL 3547981, at *2 (N.D. Ill. 2010) (rejecting “the proposition that because

plaintiff has alleged a claim of discrimination based on age, she cannot plead retaliation under any

other theory”); Stansberry v. Uhlich Children’s Home, 264 F. Supp. 2d 681, 691 (N.D. Ill. 2003)

(allowing claims for multiple retaliatory motives). Moreover, the fact that a committee’s members

offer shifting explanations for their action permits an inference that those reasons are not sincere.

Black Lives Matter D.C. v. Trump, 2021 WL 2530722, at *18 (D.D.C. Aug. 25) (holding that

“shifting explanations for” challenged governmental action, “at this early stage” support “plau-

sibl[e] alleg[ations] that the defendants did not have a non-retaliatory motive”).

       B.      The request violates the separation of powers. (VII)
       The information requested by the Committee is the subject of ongoing examinations by the

IRS, and its confiscation or disclosure would therefore violate the separation of powers. ACCC

¶¶340, 344. The Government argues that this claim is unripe and meritless. Gov’t-MTD 48-51.

The Government is wrong, twice over.

       Intervenors’ separation-of-powers claim is ripe. “A claim is not ripe for adjudication if it

rests upon contingent future events that may not occur as anticipated, or indeed may not occur at


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all.” Texas v. United States, 523 U.S. 296, 300 (1998). But “[o]ne does not have to await the

consummation of threatened injury to obtain preventive relief. If the injury is certainly impending,

that is enough.” Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 298 (1979); see also

Susan B. Anthony List v. Driehaus, 573 U.S. 149, 164-64 (2014). That requirement is met here:

An unconstitutional confiscation is “certainly impending” absent judicial intervention.

        The Government argues this claim is unripe because it depends on speculation as to what

Congress might do next after the unconstitutional confiscation: whether, for example, it will go on

to intrude further upon ongoing examinations by the IRS. Gov’t-MTD 48-49. This argument mis-

understands Intervenors’ claim. The impending confiscation would itself violate the separation of

powers. Thus, the claim in no way depends on any “speculative chain of possibilities.” Clapper v.

Amnesty Int’l, USA, 568 U.S. 398, 414 (2013). While subsequent events might bring additional

violation of the separation of powers, the Government’s impending disclosure gives rise to a claim

now. Cf. Bowsher v. Synar, 478 U.S. 714, 728 n.5 (1986) (holding separation-of-powers claim

against as-yet unused removal provision to be ripe because of executive officer’s “here-and-now

subservience to another branch”).

        The doctrine of “prudential ripeness” is no impediment to review here either. See SBA List,

573 U.S. at 167. Prudential ripeness should only rarely prevent a case from going forward, as “a

federal court’s obligation to hear and decide cases within its jurisdiction is virtually unflagging.”

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 126 (2014) (internal quota-

tion marks omitted). Moreover, the two criteria for prudential ripeness—“the fitness of the issues

for judicial decision” and “the hardship to the parties of withholding court consideration”—both

confirm justiciability here. Thomas v. Union Carbide Agr. Prod. Co., 473 U.S. 568, 581 (1985).

As to the first, the constitutionality of confiscating pending investigation files “is purely legal, and




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will not be clarified by further factual development.” Id. As to the second, any delay would defer

consideration until after the Government disclosed the information to the Committee, irreparably

harming Intervenors’ interest in both the confidentiality of their tax information and the fairness

and impartiality of ongoing examinations. Cf. In re Sealed Case No. 98-3077, 151 F.3d 1059, 1065

(D.C. Cir. 1998) (holding immediate harm of involuntary disclosure “render[ed] appeal after final

judgment an inadequate means to relief”).

       Intervenors have plausibly stated a claim to relief. History shows that separation of powers

requires the executive branch to refuse congressional requests for open enforcement files. “[T]he

policy of the Executive Branch throughout our Nation’s history has generally been to decline to

provide committees of Congress with access to, or copies of, open law enforcement files except in

extraordinary circumstances.” 10 Op. O.L.C. 68, 76 (1986). Nondisclosure prevents Congressional

intrusion into “matters which are within the exclusive province” of the executive branch, namely

enforcement of the law. Barenblatt, 360 U.S. at 112; see also Seila Law, 140 S. Ct. at 2191 (“Under

our Constitution, the ‘executive Power’—all of it—is ‘vested in a President,’ who must ‘take Care

that the Laws be faithfully executed.’” (quoting U.S. Const. art. II, §1, cl. 1).

       Nondisclosure of pending enforcement files has been the executive branch’s constant prac-

tice. “This policy with respect to Executive Branch investigations was first expressed by President

Washington and has been reaffirmed by or on behalf of most of our Presidents, including Presi-

dents Jefferson, Jackson, Lincoln, Theodore Roosevelt, Franklin Roosevelt, and Eisenhower.” 10

Op. O.L.C. at 76; accord 6 Op. O.L.C. 751 (1982) (more history). Nor has this practice been lim-

ited to presidential invocations of executive privilege. As one example, in 1955 the SEC refused

to disclose investigative files in two pending matters. As the Chairman explained, “It has been the

consistent policy of the Commission not to release its pending investigation files. It has been our




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belief that such release might impair the integrity of the Commission’s investigative process and

seriously interfere with the Commission’s responsibility of appropriate enforcement action, in case

this becomes necessary.” 6 Op. O.L.C. 782, 806-07 (1982). Or as then–Attorney General Robert

Jackson explained, “[A]ll investigative reports are confidential documents of the executive depart-

ment of the Government, to aid in the duty laid upon the President by the Constitution to ‘take care

that the Laws be faithfully executed,’ and … congressional or public access to them would not be

in the public interest.” 40 Op. Att’y Gen. 45, 46 (1941).

        This rule of nondisclosure serves important purposes. “[T]he Executive cannot effectively

investigate if Congress is, in a sense, a partner in the investigation. If a congressional committee

is fully apprised of all details of an investigation as the investigation proceeds, there is a substantial

danger that congressional pressures will influence the course of the investigation.” 10 Op. O.L.C.

at 76. Nondisclosure protects the candor and integrity of the executive branch in the underlying

matter, as well as in future matters. “Human experience teaches that those who expect public dis-

semination of their remarks may well temper candor with a concern for appearances and for their

own interests to the detriment of the decisionmaking process.” United States v. Nixon, 418 U.S.

683, 705 (1974).

        The Government’s arguments against this doctrine are unpersuasive. Focusing on the rel-

evant OLC opinions, the Government contends that they support only a waivable executive privi-

lege, with no obligation on the executive branch to protect open law-enforcement files. Gov’t-

MTD 49-50. But while questions of disclosure have often arisen in the executive-privilege context,

e.g., 8 Op. O.L.C. 252 (1984), the historical evidence, as quoted above, is not so limited. The best

the Government can say is that the OLC opinions contemplate release of open files “in extraordi-

nary circumstances.” Id. at 50. Far from an argument for dismissal, though, that concession is




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enough to make Intervenors’ claim plausible. No extraordinary circumstances warranting prema-

ture disclosure exist here.12

        The Government suggests that §6103(f) “diminishe[s]” any separation-of-powers concerns

here. Gov’t-MTD 50-51. But as explained before, supra II.A.i, statutes can raise constitutional

issues, but they rarely resolve them. Courts routinely hold that statutes (or their applications) vio-

late the separation of powers, even when the encroached upon branch is on the opposite side of the

“v.” E.g., Bowsher, 478 U.S. 714; Clinton v. City of New York, 524 U.S. 417 (1998); Collins, 141

S. Ct. 1761. That a President signed §6103(f) at some point at time does not mean that he approved

the precise application here, that he had the right to bind his successors to that view, or that he had

a right to waive the important individual liberties that the separation of powers is designed to

protect.

        C.      The request violates due process. (VIII)
        The Committee’s request also violates due process by interfering with an ongoing exami-

nation. When a congressional investigation focuses on a “pending” adjudication, it violates “the

right of private litigants to a fair trial and, equally important, with their right to the appearance of

impartiality”—the “sine qua non of American judicial justice.” Pillsbury Co. v. FTC, 354 F.2d

952, 964 (5th Cir. 1966).

        The Government first argues that this claim is unripe for the same reasons as the separation-

of-powers claim, discussed above. Like the separation-of-powers claim, this claim rests on the

certainly impending threat of disclosure to Congress, without resort to any “speculative chain of



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           The Government also cites a district-court opinion noting that congressional hearings
while an administrative matter is still pending are “not inherently improper.” Gov’t-MTD 49. This
line, however, came in the context of due-process concerns with contemporaneous hearings, see
infra III.C, not the separation-of-powers problem presented by the confiscation of pending en-
forcement files.


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possibilities,” Clapper, 568 U.S. at 414, or “conjecture” about the choices of independent actors,

Trump v. New York, 141 S. Ct. 530, 535 (2020). President Trump’s tax returns are not just any

document. His political opponents have been pursuing them for years. There is little doubt—and

it is at least plausible at this stage—that their disclosure will deprive Intervenors of a fair exami-

nation and the appearance of impartiality.

       In particular, there is no need to await a final ruling from the agency on the underlying tax

filings. As discussed, a claimant can successfully state a due-process violation “even without

showing” that the improper influence of Congress “had actually influenced the [agency’s] deci-

sion.” D.C. Fed’n of Civic Assocs. v. Volpe, 459 F.2d 1231, 1246 (D.C. Cir. 1971). Because the

“appearance of bias or pressure may be no less objectionable than the reality,” id. at 1246-47,

Intervenors’ claim is ripe regardless of the potential for additional injury in the form of adverse

agency rulings. Intervenors’ will be injured upon disclosure, and disclosure is something this Court

can stop now.

       A litigant is deprived of due process when Congress so intrudes upon an administrative

proceeding as to remove the appearance of impartiality. ATX, Inc. v. U.S. Dep’t of Transp., 41 F.3d

1522, 1527 (D.C. Cir. 1994). Applying this rule, the Fifth Circuit in Pillsbury vacated the order of

an administrative tribunal “that was importuned by members of the United States Senate … to

arrive at the ultimate conclusion which they did reach.” 354 F.2d at 963. In that case, Senators had

subjected the relevant agency commissioner to a “barrage of questioning,” urging a view of the

Clayton Act unfavorable to a private respondent in ongoing proceedings before the agency. Id. at

955-56. Although the commissioner then disqualified himself from the case, id. at 956, the Fifth

Circuit held the damage was done, and the proceeding compromised, by the senators’ intrusion.

Likewise, the D.C. Circuit found a due-process violation in Koniag where a Congressman wrote a




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letter to an agency just before an eligibility decision regarding certain Native American villages.

The court found that, although “[t]he letter did not specify any particular villages,” it nevertheless

“compromised the appearance of the Secretary’s impartiality.” Koniag, Inc., Vill. of Uyak v. An-

drus, 580 F.2d 601, 610 (D.C. Cir. 1978).

       Intervenors’ cross-claim alleges much more intrusive congressional behavior than either

Pillsbury or Koniag. The Committee’s members and partisan allies have continually demanded

access to the requested documents for over five years. They have repeatedly claimed that Interve-

nors’ tax information—currently under examination by the IRS—would reveal civil and criminal

liabilities. E.g., ACCC ¶¶42, 96, 272. Under these circumstances, the threatened disclosure would

violate Intervenors’ rights to due process. It would invite into the ongoing adjudication Members

who have a longstanding partisan interest in seeing the proceeding reach a conclusion adverse to

Intervenors. Pillsbury and Koniag found violations based on comparatively mild congressional

behavior. Their holdings therefore dictate the same outcome in these more extreme circumstances.

       To oppose this claim, the Government relies principally on ATX, but that case involved a

much lower level of congressional intrusion. There, members of Congress sent a single letter op-

posing an application and later offered testimony at an ALJ hearing where anyone was allowed to

participate. 41 F.3d at 370-71. Even so, the D.C. Circuit found those actions “substantial enough

to warrant close examination.” Id. at 372. The case also involved a much looser “nexus between

the pressure and the actual decision maker.” Id. at 372. The Secretary answered Congress with a

form letter and assurances of a fair and searching adjudication of ATX’s application.

       Here, by contrast, the executive branch has abruptly reversed its position once it was con-

trolled by the Committee’s partisan allies—and in the face of the Committee’s renewed vows to

expose the requested documents. ATX is clear that such circumstances can create an appearance of




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impartiality. See id. at 374 (“If the decision maker were suddenly to reverse course or reach a

weakly-supported determination, by contrast, we might infer that pressure did influence the final

decision.”). The agency in ATX also “insulated [its] own decisionmaking process from congres-

sional interference.” Id. at 373. But here, Intervenors have plausibly pleaded that the Government

reversed its prior position and wants to disclose Intervenors’ confidential documents to the Com-

mittee—thereby making Congress “a partner in the investigation,” 10 Op. O.L.C. at 76. That would

violate Intervenors’ right to due process.

                                         CONCLUSION
       The motions to dismiss should be denied.

                                             Respectfully submitted,

    Dated: October 26, 2021                   /s/ Patrick Strawbridge
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                              CERTIFICATE OF SERVICE
      I filed this opposition with the Court via ECF, which will email everyone requiring notice.

Dated: October 26, 2021                      /s/ Patrick Strawbridge




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